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              EXHIBIT H
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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION
                                  + + + + +
       ___________________________
                                  :
       IN THE MATTER OF:          :
                                  :
       CUTTING EDGE VISION, LLC, :
       an Arizona Limited         :
       Liability Company,         :
                                  :
                    Plaintiff,    :
                                  :
            v.                    : Case No.
                                  : 6:24-CV-270-AM-DTG
       T-MOBILE US, Inc., and     :
       T-MOBILE USA, Inc.,        :
                                  :
                    Defendants.   :
                                  :
       ___________________________:

                      Friday,
                      March 14, 2025

       DEPOSITION OF:

                            DR. ANDREW WOLFE

       called for examination by Counsel for the
       Plaintiff, pursuant to Notice of Deposition,
       via Video Teleconference, when were present on
       behalf of the respective parties:




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1          APPEARANCES:
2
           On Behalf of the Plaintiff:
3
           JUSTIN J. LESKO, ESQ.
4          MICHELLE B. LISA, ESQ.
           Law Offices of Lisa & Lesko, LLC
5          332 S. Michigan Avenue
           Suite 900
6          Chicago, IL 60604
           774-484-3285
7          JustinLesko@patentit.com
8
9          On Behalf of the Defendants:
10         ELIZABETH J. WEISKOPF, ESQ.
           K&L Gates LLP
11         925 Fourth Avenue
           Suite 2900
12         Seattle, WA 98104
           206-623-7580
13         Elizabeth.Weiskopf@klgates.com
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1                          P-R-O-C-E-E-D-I-N-G-S
2                                                                   (9:01 a.m.)
3                     COURT REPORTER:         We are now on the
4          record.    Here begins the deposition of Dr. Andrew
5          Wolfe, taken in the matter of Cutting Edge Vision
6          LLC vs. T-Mobile US, Inc. and T-Mobile USA, Inc.,
7          Case No. 6:24-CV-270-AM-DTG.            We are convened
8          remotely via Zoom.      My name is Eric Mollen.                I'm
9          the    court   reporter    from     Neal         R.    Gross   and
10         Company.   Today's date is Friday, March 14th,
11         2025, and the time is 9:02 a.m. Pacific.                   Would
12         all present please introduce yourselves and whom
13         you represent for the record?
14                    MR. LESKO:      Good morning.              My name is
15         Justin Lesko, and I'm here on behalf of the
16         Plaintiff, Cutting Edge Vision, LLC.
17                    MS. LISA:      Hello, I'm Michelle Lisa, and
18         I'm also here on behalf of Plaintiff Cutting Edge
19         Vision, LLC.
20                    MS. WEISKOPF:        I'm Elizabeth Weiskopf
21         from K&L Gates, on behalf of the witness and the
22         T-Mobile Defendants.
23                    MR. LESKO:      Okay, great.           So, Dr. Wolfe,
24         I'm going to start with a few ground rules for
25         today's deposition.



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1                       COURT REPORTER:       Actually, Mr. Lesko --
2                       DR. WOLFE:    Do you want to swear me in?
3                       COURT REPORTER:       Yes, I should swear him
4          in.
5                       MR. LESKO:    Sorry.
6                       COURT REPORTER:       Dr. Wolfe, would you
7          raise your right hand, please?
8          WHEREUPON,
9                                 ANDREW WOLFE
10         was called as a witness by Counsel for the
11         Plaintiff and, after having been first duly
12         sworn, was examined and testified as follows:
13                            DIRECT EXAMINATION
14                     MR. LESKO:     Okay.      Dr. Wolfe, I'm going
15         to start with a few ground rules.                I'm sure
16         you've heard these before but we still want to go
17         through them.     So first, for today's deposition,
18         you    should   only   have     the     Zoom     meeting,     the
19         documents folder -- actually, let me ask you
20         first.     Do you have access to the folder of
21         documents that I sent to Ms. Weiskopf?
22                      THE WITNESS:     No.
23                     MR. LESKO:     Okay.      Can we go off the
24         record here?
25                     COURT REPORTER:        Yes, we're off the



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1          record.
2                       (Whereupon, the above-entitled matter
3          went off the record at 9:04 a.m. and resumed at
4          9:05 a.m.)
5                       COURT REPORTER:        All right.       We're back
6          on the record at 9:05 a.m.
7                       MR. LESKO:     Okay, Dr. Wolfe, I'm going
8          to start with some ground rules here.                First,
9          during the deposition, you should only have                   the
10         Zoom meeting, the documents folder and any other
11         document    that   we    are     discussing       during      the
12         deposition on your screen.           Can you confirm that
13         you agree with that?
14                     THE WITNESS:       Yep.      That's fine.
15                      BY MR. LESKO:
16               Q    And currently, do you have anything else
17         open on your computer aside from the documents
18         folder and the Zoom meeting?
19               A    I'm not sure what you mean by open, but
20         I only see the Zoom window and the documents
21         folder.    I mean, I guess I have I still have a
22         web browser open to the Box.
23               Q    Okay.   So you have a web browser to Box
24         and the folder and the Zoom meeting and nothing
25         else is on your computer right now, like, that's



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1          usable.
2                A    I mean, I'm sure there's stuff running
3          in the background, but there's nothing else that
4          I can see.
5                Q    Okay.   And throughout the deposition,
6          you cannot have any chats open with colleagues or
7          with Ms. Weiskopf.       Do you agree with that?
8                A    I'm not sure what the rules are.                 I mean
9          certainly don't have any communications with
10         anybody while we're on the record.
11               Q    Yeah.   Can we just agree that we're not
12         going to have any communications like that while
13         we're on the record?        It's just hard because
14         we're in a Zoom meeting.          I want to make sure.
15                A    No, that's fine.
16                Q   Okay.   And I'll ask some of my questions
17         slowly.      Can   you    please       let        me   finish    the
18         question before answering?
19                A    I will do my best.
20                Q   Okay.   And if you don't understand a
21         question, will you let me know, and then I'll try
22         to rephrase it for the record?
23                A    I will try to do that.
24                Q   And if you answer a question, I'll
25         assume you understood the question.                    Is that



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1          okay?
2                A    Okay.
3                Q    And if you need a break at all during
4          the deposition, you can request one, but please
5          try to answer any pending question before we try
6          to take a break.
7                A    Okay.
8                Q    Is there any issue today, such as an
9          illness or a personal issue that would impair
10         your ability to testify fully and accurately
11         today?
12               A    Not at the present time.
13               Q    Okay.   Can you please state your full
14         name and address for the record.
15               A    Andrew Wolfe.      Do you want the address
16         of my office where I am right now or do you want
17         my home address?
18               Q    Your office address is fine.
19               A    2005 De La Cruz Boulevard, Suite 142,
20         Santa Clara, California 95050.
21               Q    Okay.   And you have submitted a claim
22         construction declaration on behalf of T-Mobile
23         US, Inc. and T-Mobile USA, Inc. in this matter,
24         is that correct?
25               A    Yes.



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1                Q     And     for     convenience              during     our
2          deposition,         I'll    refer    to     the       Defendants
3          collectively as T-Mobile and to the Plaintiff as
4          CEV.       Is that okay?
5                A     I will understand that.
6                Q     Thank you.      So in preparing for today's
7          deposition, did you review your declaration that
8          we just mentioned in this case?
9                A     Yes.
10               Q     In preparing for today's deposition, did
11         you review the declaration of Dr. Hughes?
12               A     Not since I wrote my declaration, no.
13               Q     Okay.    And in preparing for today's
14         deposition, did you review the patents at issue
15         in this case, U.S. patent numbers 10,063,761 and
16         11,153,472?
17               A     Yes.
18               Q     In preparing for today's deposition, did
19         you read the file histories of either of those
20         patents?
21               A     Portions of it.         I pulled it up online
22         at the Patent Office, and I read the portions
23         that I thought would be relevant.
24               Q     Okay.      In    preparation             for   today's
25         deposition, did you read Plaintiff's Proposed



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1          Constructions dated January 3rd, 2025?
2                A     No.
3                Q     And in preparing for today's deposition,
4          did you read Defendant's Amended Preliminary
5          Proposed Claim Constructions dated February 20th,
6          2025?
7                A     No,    I    believe      I   was     provided         with
8          excerpts from each of those that I've included in
9          my declaration.          But other than that, I did not
10         read them.
11               Q    Okay.       Is there anything -- now today,
12         right      now,   I'm     just     talking       about      today's
13         deposition, not the declaration.                      Was there
14         anything else that you reviewed to prepare for
15         today's deposition?
16               A    I reviewed portions of the file history
17         of some of the parent applications.
18               Q    Okay.       Would that be, U.S. patent number
19         9,936,116,        which       is      referenced            in      your
20         declaration in this matter?
21               A    Yes.    I also briefly reviewed the issued
22         patents from some of the predecessors.
23               Q    Okay.       So other CEV patents that are
24         related to the asserted patents here, the '761
25         patent and the '472 patent.                You reviewed those



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1          patents as well, you're saying?
2                A    I looked at portions of those where the
3          file history would have indicated to me that they
4          should have had the same specification.
5                Q    Okay.    Is there anything else that you
6          reviewed in preparing for today's deposition that
7          we haven't discussed?
8                A    Not that I can recall.
9                Q    How much time did you spend preparing
10         for today's deposition?
11               A    After having prepared the declaration?
12               Q    Yeah,    just   for     today's         deposition.
13         Unrelated to the declaration preparation.
14               A    I don't know exactly, but, ballpark
15         eight to 12 hours.
16               Q    Okay.    Did you meet with Ms. Weiskopf?
17               A    Over video link.
18               Q    And how many times did you meet with Ms.
19         Weiskopf?
20               A    Twice.
21               Q    And for how long were those meetings?
22               A    The first one was about three hours, I
23         believe.    Second one, maybe ten minutes.
24                Q   Did you meet with anyone else to prepare
25         for today's deposition?



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1                    A    No
2                    Q    So, I know you're here on behalf of T-
3          Mobile.        Is that correct?
4                A       They have retained me.           I'm here to give
5          my own opinions, but at their request.
6                Q       Okay.   And so related to that, the
7          opinions that you're giving are supposed to be
8          honest and given on an informed basis to the
9          court.        Do you agree?
10               A       I do.
11               Q       Okay, I don't know if you're familiar
12         with this rule, but there's a Rule 702 for
13         experts that says the testimony is supposed to be
14         based on sufficient facts or data.                   Do you agree
15         that the testimony that you are to provide to the
16         court should be based on sufficient facts or
17         data?
18               A       I do.
19               Q       Okay.   And do you understand that as a
20         retained expert, your testimony should assist the
21         court in understanding the evidence?                   Is that
22         right?
23               A       That's my understanding.
24               Q       Okay.   And do you agree that your
25         testimony should not omit relevant facts that



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1          could      impact   the    court's       analysis         of    the
2          technical matters?
3                A    Yes.     As I understand that, I would not
4          want to admit any facts that are relevant to the
5          topic at issue.
6                Q    And just to clarify, you meant to say
7          you would not want to omit any facts, right?
8                A    Yes, O-M-I-T.
9                Q    Understood.      So if there was evidence
10         that was unhelpful to T-Mobile, you would still
11         be obligated to address that evidence.                    Is that
12         right?
13                      MS. WEISKOPF:         Objection.        This is legal
14         issues.     If you've got something you want to show
15         him, you should just show him.
16                      MR. LESKO:       Oh.     So the question is, if
17         there's certain evidence that was unhelpful for
18         T-Mobile, would you still be obligated to address
19         it, Mr. Wolfe?
20                      MS. WEISKOPF:         I renew my objection.
21                      THE WITNESS:        I don't know.            Again,
22         that's a complicated legal question.                  I think
23         that the court would have to determine whether or
24         not there was relevance, whether or not it was
25         within the scope of my testimony.                   I think it's



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1          more complicated than a yes or no answer, but I
2          certainly am always trying to do my best to give
3          full and complete answers to the, questions
4          relevant       to     my     testimony        without      regard      to
5          whether or not they're helpful for T-Mobile or
6          CEV.
7                         MR. LESKO:          In forming your opinions in
8          this case, you reviewed certain materials.                          Is
9          that correct?
10                       THE WITNESS:            Yes
11                       BY MR. LESKO
12                Q     And you listed those materials in your
13         declaration, is that correct?
14               A     Yes.    I've done my best to list them all
15         as best as I can recall.
16               Q     And so the materials you reviewed, you
17         selected because you think they're relevant and
18         important to your analysis.                   Is that correct?
19               A     Well, not necessarily everything that I
20         reviewed is relevant or important, but if I
21         reviewed it and then determined that it wasn't
22         relevant, I may have still disclosed it.
23               Q     Okay.     So during your review, you might
24         have       reviewed    certain          materials        and    then
25         determined      after         reviewing         them     that    either



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1          they're not relevant or parts of them might not
2          be relevant.
3                A      That's certainly possible.
4                Q      So if you look in the Box folder you
5          provided, there's a Plaintiff's Exhibit 1.                      Can
6          you pull that up or download it, whichever is
7          easier for you?
8                        (Whereupon,       the       above-referred            to
9          document was marked as Plaintiff's Exhibit No. 1
10         for identification.)
11               A    Okay.
12               Q    Okay.   So Plaintiff's Exhibit 1, take a
13         few minutes, a few seconds to look it over.                      And
14         can    you    confirm   that      Exhibit          1   is   your
15         declaration that you submitted in this matter and
16         that it bears your signature?
17               A    Based on my cursory review, it appears
18         to be.
19               Q    Okay.   And if you scroll down to PDF
20         Page 203, which is, I think, Page 201 in the
21         document, you should see your signature page.
22         Let me know when you get there.
23               A    I see it.
24               Q    Okay.   Is that your signature on the
25         page there?



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1                A    Yes.
2                Q    Okay.    So your declaration says there on
3          that page, under penalty of perjury, under the
4          laws of the United States of America, to the best
5          of    my   knowledge,        the     foregoing          is     true    and
6          correct.     Do you see that?
7                A    I see that.
8                Q    Okay.        And      you're      aware       of    the
9          seriousness of that?
10               A    I am.
11               Q    And you believed that statement at the
12         time of your declaration when you signed it?
13               A    I did.
14               Q    And    you     said     you     reviewed          your
15         declaration in preparing for today's deposition.
16          Is that right?
17               A    Yes.
18               Q    And do you still believe that everything
19         in your declaration is true and correct?
20               A    As far as I'm aware.
21               Q    And if you discovered something in your
22         declaration that was untrue or incorrect during
23         today's    deposition,          would      you        change    your
24         testimony?
25                     MS. WEISKOPF:            Object to form.            This is



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1          vague.
2                       THE WITNESS:        We'd have to look at it on
3          a case by case basis.           I would acknowledge if
4          something is incorrect.            I think the nature of
5          the error would determine whether or not my
6          testimony changes.
7                       MR. LESKO:         Sure.    So if you saw an
8          error in there that needed to be corrected, you
9          would be able to correct it on the record today?
10                     MS.     WEISKOPF:           Object      to    form,
11         speculative.
12                     THE WITNESS:         Again, we'd have to see
13         it.    But if I'm able to correct it on the record,
14         I would do so.
15                     MR. LESKO:        So just to confirm, the
16         testimony you are providing today will also be
17         true and correct to the best of your knowledge.
18         Is that right?
19                     THE WITNESS:         Yes.      I will do my very
20         best to give true and correct testimony today.
21                     BY MR. LESKO:
22                Q   And     did    you    write       this   declaration
23         yourself?        Exhibit 1?
24               A    Not    every    word.         I    prepared     the
25         declaration, but I did not write every word.



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1                 Q    Okay.      Did you review it carefully
2          before you signed it?
3                 A    I did.
4                 Q    And did any of T-Mobile's lawyers draft
5          portions of this declaration for you?
6                           MS. WEISKOPF:       Objection under Rule 26.
7           You       can    answer,     but    you     can't     reveal       any
8          privileged communications, Dr. Wolfe.
9                           THE WITNESS:       Yes.
10                          MR. LESKO:     Do you recall what portions
11         were written by T-Mobile's lawyers?
12                          THE   WITNESS:         Certainly       the       legal
13         standards were provided by T-Mobile's lawyers.
14         And then there were other portions and I don't
15         recall exactly which ones that were the result of
16         discussions I had with T-Mobile's lawyers, where
17         I explained my opinions, and then in some cases,
18         they recorded those opinions into a first draft.
19                          BY MR. LESKO:
20               Q     Okay.      So in some instances, the first
21         draft      was    handled     by     the     lawyers        and   then
22         reviewed by you?
23               A     With certain language, that is true.
24         Yes.        But    again,     anything        that    involved       my
25         opinion originated from me.



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1                Q    What -- when you say certain language,
2          do you have any -- can you point out which
3          portions might have been drafted by the lawyers
4          first, aside from the legal section, which you've
5          already mentioned.
6                       MS. WEISKOPF:        I'm going to continue to
7          object      under     Rule      26       and       privileged
8          communications.       Dr. Wolfe, please don't reveal
9          anything privileged.
10                     THE WITNESS:        I actually don't recall.
11                     MR. LESKO:       What percentage of the
12         sections do you think were drafted by the lawyers
13         first, roughly?
14                     THE     WITNESS:         I    haven't         tried   to
15         estimate that, I don't know, I mean, in this
16         particular    declaration,         80     percent         plus,   I
17         believe is just raw evidence and wasn't drafted
18         by anybody at T-Mobile or anybody on the T-Mobile
19         legal team or me.       About 80 percent of it is just
20         quoted evidence.
21                      BY MR. LESKO:
22               Q    So you're referring, for example, to
23         pages -- just looking at your declaration, pages
24         15 through, let's say -- pages 15 through 165
25         show, I mean, I think you'll agree with me,



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1          there's excerpts from the file histories.                   Is
2          that what you're referring to as the quoted
3          evidence, Page 15 through 165?
4                 A     That is the bulk of the quoted evidence.
5                 Q     Okay.   So then pages, let's just focus
6          on then pages, and I think we already talked
7          about the introduction and some of the legal
8          discussion.       So let's just focus on pages 166
9          through, I don't know, I guess the end of the
10         declaration, which is Page 201.                So pages 166 to
11         201.       Do you recall which sections there were
12         drafted by the T-Mobile lawyers?
13                       MS. WEISKOPF:        And again, I'm going to
14         object to privileged communications.                  Please
15         don't reveal anything privileged, Dr. Wolfe.
16                       THE WITNESS:       So everything was based on
17         the opinions that I developed and discussed with
18         the attorneys.       But I don't recall which text I
19         drafted originally and which text was drafted by
20         attorneys that I then reviewed and approved.
21                       MR. LESKO:      Okay.      So percentage wise,
22         one page – this very specific page range.                   I'm
23         talking about pages 166 to 201.                What percentage
24         of that did you draft first?
25                       MS. WEISKOPF:        Objection.       Asked and



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1          answered.
2                       THE WITNESS:       No, I think I've already
3          answered that I don't have that number.
4                       MR. LESKO:      So you have no idea which
5          parts were drafted by you or the lawyers between
6          pages 166 and 201?
7                       MS. WEISKOPF:        Objection.          Asked and
8          answered.
9                       THE WITNESS:       I don't believe -- I
10         explained to you how it was prepared.
11                     MR. LESKO:       So in forming -- in drafting
12         the declaration, was there any limits placed on
13         what materials you could review to draft your
14         declaration?
15                     MS. WEISKOPF:         Objection, please don't
16         reveal anything privileged, Dr. Wolfe.
17                     THE WITNESS:        I'm not aware of any.
18                     MR. LESKO:       So, for example, if you --
19         did you ever request additional materials to
20         review and then they weren't provided to you?
21                     THE WITNESS:        I'm sorry, did you ask,
22         did    I   ever    request     materials           that   were   not
23         provided to me?
24                     BY MR. LESKO:
25               Q    Yeah.   Did you ask, for example, did you



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1          ask counsel, T-Mobile's lawyers to provide you
2          with a document to review and they said, no?
3                A    That did not happen.            Every time I asked
4          for a document to review, it was provided.
5                Q    So when it came to what documents you
6          reviewed, did you make that decision or did T-
7          Mobile's lawyers guide you?
8                          MS. WEISKOPF:       You know, objection.
9          This       is     really     getting        into        privileged
10         communications.            Please     don't         reveal    any
11         communications between counsel, Dr. Wolfe.
12                         THE WITNESS:     I'm not quite sure how to
13         answer      that     without        revealing          privilege.
14         Certainly counsel informed me what the patents
15         were that were in this case, right? I didn't come
16         up with that on my own.            But there were other
17         situations where I asked to review additional
18         documents.
19                         MR. LESKO:    So if you could in Exhibit
20         1, turn to the PDF, Page 7.              There's a Paragraph
21         18.    Let me know when we get there, Dr. Wolfe.
22                         THE WITNESS:     I see that.
23                         BY MR. LESKO:
24               Q    Okay, great.       So in Paragraph 18, we
25         don't have to read it out loud.                Just read it to



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1          yourself.    There is a list of -- it's a bullet
2          pointed list of five items.            And it says you have
3          reviewed the following materials in addition to
4          any documents cited herein.            And there's five
5          items listed.     Do you see that?
6                 A   Yes.
7                 Q   Is that list a complete and accurate
8          record of everything you reviewed in preparing
9          your declaration?
10                     MS. WEISKOPF:       Objection.
11                     THE WITNESS:      As best as I can recall,
12         yes.
13                     MR. LESKO:     So you don't know of any
14         other documents beyond those listed here that you
15         reviewed in preparing your declaration?
16                     THE   WITNESS:         I    don't     recall     any.
17         Clearly, if I cited any other documents in the
18         declaration, I must have reviewed them and I
19         could have missed them in making this list.                  But
20         this is what I recall having reviewed.
21                     MR. LESKO:     Was there any materials that
22         you intentionally avoided reviewing in preparing
23         the declaration?
24                     MS. WEISKOPF:       Objection.        This has been
25         asked and answered.



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1                        THE WITNESS:     No.
2                        MR. LESKO:    I'm sorry.            Did you answer
3          the question?
4                        THE WITNESS:     Yeah, I said no.
5                        BY MR. LESKO:
6                 Q    Oh, okay.   I didn't hear you.              And in
7          preparing your declaration, did you conduct any
8          independent research for other materials that may
9          have been relevant to your declaration?
10                A    No.
11                Q    Did you review any other litigation
12         documents prior to preparing your declaration?
13         Did you review any infringement contentions from
14         CEV, for example?
15                      MS. WEISKOPF:       Objection, vague.
16                      THE WITNESS:      I have not reviewed any
17         infringement contentions.
18                      MR. LESKO:     Okay.      I'll represent to
19         you,       yes,   CEV    served        on         T-Mobile    some
20         infringement contentions in this matter.                  Did you
21         review anything like that in preparing your
22         declaration?
23                      MS. WEISKOPF:       Objection, vague.
24                      THE WITNESS:      No.
25                      MR. LESKO:     So I also represent to you



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1          that T-Mobile served some invalidity contentions
2          in this matter upon CEV.             Did you review any
3          invalidity contentions prior to preparing your
4          declaration?
5                         THE WITNESS:       No, I did not review any
6          invalidity      contentions         with     respect       to   this
7          matter.
8                         BY MR. LESKO:
9                Q      Okay.   So, and now we're talking about
10         not just for preparing your declaration.                    Just
11         you have not seen any invalidity contentions
12         relating to this matter ever.                Is that your
13         testimony?
14               A     Correct.
15               Q     Okay.    So attached to the declaration,
16         if you scroll down to PDF Page 205 is where it
17         begins, that's your CV starting there on Page
18         205.       Is that correct?
19               A     Yes, as of mid-February.
20               Q     And as shown in your CV, you've provided
21         expert testimony in a number of cases.                     Is that
22         correct?
23               A     Yes.
24               Q     Do you review any prior expert testimony
25         in preparing this declaration, Exhibit 1?



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1                A    Oh, make sure I answer the question you
2          asked.       I     reviewed        some      testimony         from    Dr.
3          Hughes, and I reviewed some declarations that
4          were in the file history, but I did not review
5          any of my own prior expert testimony in preparing
6          this declaration.
7                Q    Okay.    And you're right.                  That was my
8          question.          Did     you     review      your        own    prior
9          testimony regarding this expert declaration?
10               A    I did not.
11               Q    So now we're going to scroll up to
12         Paragraph 24 of this exhibit.                  Paragraph 24, if
13         you're there, it says my qualifications and
14         experience       made      me,     at    least,        a   person      of
15         ordinary skill in the art.                Can you see that?
16               A    Yes.
17               Q    Okay.         Does      that      also      mean      you're
18         qualified as an expert to provide testimony in
19         this matter?
20                     MS. WEISKOPF:             Object to form, it's a
21         legal issue.
22                     THE     WITNESS:             I    believe         that    I'm
23         qualified to provide testimony on the issues that
24         I am providing testimony on.                  There are going to
25         be many other issues in this case where the



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1          expertise required is different than mine.
2                       MR. LESKO:      Okay.      So for purposes of
3          claim construction, as of 2005, you were at least
4          a person of ordinary skill in the art?
5                       THE WITNESS:       I believe so.            Again, the
6          court may, define the qualifications of a person
7          of ordinary skill in the art at some point and at
8          that point I would reevaluate.               But under my
9          understanding of what is required of a person of
10         ordinary skill in the art, I am at least a person
11         of ordinary skill in the art, and was, as of
12         2005.
13                      BY MR. LESKO:
14               Q    Okay.    If you could scroll up again to
15         Paragraph 18.       Like I said, I asked you a few
16         questions about the amount of time you spent
17         revealing each of the materials listed here.                    If
18         you could help me with that.              So looking at U.S.
19         patent     number   10,063,761,         in    preparing       your
20         declaration, about how much time did you spend
21         reviewing that?
22               A    I don't recall.
23               Q    I'm sorry, I couldn't hear your answer.
24               A    I don't recall.
25               Q    Okay.    Did you take notes as you were



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1          reviewing it?
2                A    No.
3                Q    Did anyone assist you in reviewing these
4          documents, like do you have another expert or
5          somebody       at   your    group      that     helps      you   with
6          reviewing documents like these?
7                A    No.
8                Q    But you received some guidance from
9          counsel on what to review in these patents -- in
10         this patent, I should say?
11               A    I was told what claims are at issue in
12         the    case,     but   that's       the     only     guidance    I
13         received.
14               Q    Okay.    So let's do this again, for
15         patent number 11,153,472, do you know how much
16         time you spent reviewing that patent in preparing
17         your declaration?
18               A    I don't.
19               Q    And did anyone assist you with reviewing
20         it?
21               A    No.
22               Q    Were you limited in the amount of time
23         you could spend reviewing either the '761 patent
24         or the '472 patent?
25               A    No.



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1                Q    Okay.   So let's go to the next item, the
2          file history.      So here in your declaration,
3          Paragraph 18, you list three file histories that
4          you reviewed in preparing your declaration.                  Do
5          you agree with me?
6                A    Yes.
7                Q    Do you recall how much time you spent
8          reviewing the file histories?
9                A    I do not.
10               Q    And did you take notes as you were
11         reviewing those file histories?
12               A    No.
13               Q    And did anyone assist you in reviewing
14         the file histories, someone else at your firm or
15         another expert?
16               A    No, I discussed them at certain points
17         in time with counsel.         But no one else.
18               Q    Okay.   And for the file histories, was
19         there any portions of them that you skimmed, let
20         me ask you this first.         I'm sorry.         Withdraw the
21         question.    For each of the file histories listed
22         in Paragraph 18, did you read it from start to
23         finish?
24                     MS. WEISKOPF:        Objection, vague.
25                     THE WITNESS:       I had the entire file



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1          history available to me, but there were sections
2          that I did not read carefully that involve things
3          like whether or not fees were paid on time, and
4          other things that simply weren't relevant to my
5          opinions.
6                          MR. LESKO:     Okay.      So at times did you
7          skim the file histories?               Is that accurate?         You
8          skimmed through them or skipped over parts that
9          seemed irrelevant to you?
10                         MS. WEISKOPF:       Object to form.         Asked
11         and answered.
12                         THE WITNESS:      I only skimmed parts that
13         I didn't think would constitute the intrinsic
14         record, so I carefully read all the parts in
15         which there were representations made by the
16         applicant, and where there was feedback provided
17         by the examiner.         Those are the portions that
18         were relevant to me, including amendments and
19         summaries of interviews and things like that.
20                         MR. LESKO:     Did you run searches for
21         terms      as   well   when      you    looked       at    the   file
22         histories?       Like a Ctrl-F to try to find certain
23         words?
24                         THE WITNESS:      Not in preparing the
25         declaration.        I don't think I did.



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1                       BY MR. LESKO:
2                Q    And let's circle back to the patents for
3          a moment.     So for those, U.S. patent numbers
4          10,063,761 and 11,153,472, did you read the
5          entire patent from start to finish?
6                A    Yes.
7                Q    So some of the patents have references
8          cited at the beginning of the patents.                 Did you
9          pull up any of those references or just skip past
10         that part?
11                     MS. WEISKOPF:       Objection, compound.
12                     THE WITNESS:      Are you referring to the
13         elements listed in as a result of the prior art
14         search?
15                     MR. LESKO:     Let's just pull up, if you
16         could, Plaintiff's Exhibit 2.            That'll make this
17         simpler.    In the Box folder.          Let me know when
18         you get there, Dr. Wolfe, please.
19                     (Whereupon,       the       above-referred         to
20         document was marked as Plaintiff's Exhibit No. 2
21         for identification.)
22                     THE WITNESS:      Okay, I have that.
23                     BY MR. LESKO:
24               Q    Thank you.   So if you look at the patent
25         starting mostly on Page 2 through Page 4, there's



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1          various references cited, I think those are
2          references that were cited during prosecution.
3          Did you skip over that part, or did you read all
4          that?
5                 A     I read --
6                         MS. WEISKOPF:          Object to form, vague.
7                         THE WITNESS:          I read the text that is in
8          the '761 patent.           I did not pull up each and
9          every one of those documents and review them.                           in
10         some       cases   where       the    examiner         referred    to
11         specific quotations in the file history, I did
12         verify those.
13                       MR. LESKO:         So if there is a rejection,
14         for example, in the file history that involved
15         one of these prior art references, you would have
16         actually pulled up the reference or just read
17         what the examiner said about it?
18                       THE WITNESS:           In some cases I verified
19         the    quote,      but     I   did     not     read     the    entire
20         reference      and   determine           whether       or    not   the
21         examiner had cited to the best portion, for
22         example.
23                       BY MR. LESKO:
24               Q     Okay.    So for the -- and maybe to save
25         time, I won't pull up the '472 patent.                       But so



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1          the '472 patent, would it be the same that the
2          references cited section that we just referred to
3          that starts on Page 2, would you have read the
4          names       of     the    documents       but     not   the    actual
5          documents?
6                 A     Correct.
7                           MS.         WEISKOPF:                        Objection,
8          mischaracterizes testimony.
9                           THE WITNESS:         I mean, there may have
10         been       cases    where      I've     read      the   documents
11         previously.         I recall certain ones.              I think,
12         some of the touchscreen patents in particular,
13         but, I did not go through each one of the what I
14         believe is probably more than a hundred documents
15         that were listed as references cited and review
16         each one.
17                          MR. LESKO:       So, if you could, let's turn
18         back to Plaintiff's Exhibit 1 and Paragraph 18
19         that we were reviewing.
20                          So, the next item listed is the expert
21         declaration of Dr. Hughes dated December 12th,
22         2022.       Do you see that?
23                          THE     WITNESS:      Yes.
24                          BY MR. LESKO:
25               Q     How much time did you spend reviewing



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1          that document --
2                A       I don't recall.
3                    Q    -- in preparing your declaration?
4                A       I do not recall.
5                Q       Did anyone assist you in reviewing that
6          document?
7                A       No.
8                Q       And did you read that one from start to
9          finish, the Dr. Hughes declaration?
10               A       I believe I did at one point.
11               Q       Was there any parts of it that you
12         decided to skim instead of reading carefully?
13               A       I only skimmed his CV.
14               Q       The CV?
15                A       Yeah.
16                Q      So    did      you     feel     like       you   spent
17         sufficient          time     reviewing        the        Dr.   Hughes
18         declaration to understand it?
19                        MS. WEISKOPF:            Object to form.
20                        THE WITNESS:           I spent sufficient time to
21         understand it for purposes of the opinion that I
22         put in my declaration.
23                        MR. LESKO:          And was there any parts of
24         it that you were told to ignore or not review?
25                         THE WITNESS:          No.



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1                       BY MR. LESKO:
2                Q    The     last    two   documents          here    are
3          Plaintiff's Proposed Constructions, dated January
4          3rd, 2025, and Defendant's Amended Preliminary
5          Proposed     Claim    Constructions,           dated       February
6          20th, 2025.        Do you see that in Paragraph 18 of
7          Plaintiff's Exhibit 1?
8                A    Yes.
9                Q    And did you read those from start to
10         finish?    Did you read those entire documents and
11         review them?
12                A    No.
13                Q   What parts did you not read?
14               A    I only looked at the parts that were
15         relevant to the term that I opined on.
16               Q    Okay.      So    where      there        was    --   the
17         disputed claim terms listed, aside from the
18         controller and the means-plus-function debate,
19         you ignored those claim terms like the device and
20         the periods in the preamble discussion?
21                     MS.     WEISKOPF:          Object       to     form,
22         mischaracterizes testimony.
23                     THE WITNESS:         I did not carefully review
24         portions that were not related to the claim terms
25         that I've opined on.



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1                       MR. LESKO:     And how many claim terms did
2          you opine on?
3                       THE   WITNESS:         Well,         there's    some
4          semantics involved.       Maybe I'd characterize it as
5          three.       They're   very      similar,         but   they're
6          separately written out in different claims.
7                       BY MR. LESKO:
8                Q    Let's make it a little easier.               So if we
9          look at Plaintiff's Exhibit 1, starting on Page
10         168 --
11                      (Simultaneous speaking.)
12                Q   -- PDF Page 171, there's a list of three
13         disputed claim terms.         Do you see that?
14               A    Yes.
15               Q    Table, I should say.          It's in a table
16         format, right?
17               A    Yes.
18               Q    Okay.   So in the claim construction
19         documents from CEV and from T-Mobile that you
20         reviewed, did you focus solely on those three
21         terms?
22                      THE WITNESS:      Yes.
23                     MS.    WEISKOPF:         Object        to   form,
24         mischaracterizes testimony.
25                      THE WITNESS:      I did.



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1                      MR. LESKO:     We'll scroll back up to
2          Paragraph 18 of your declaration and move on.
3          Are you confident your review of the materials in
4          Paragraph 18 was careful and thorough?
5                      THE WITNESS:     Yes, for the purposes that
6          I reviewed them, which was for preparation of
7          this declaration.
8                      MR. LESKO:     So you believe you met your
9          obligation as an expert to consider all relevant
10         information that was in these documents?
11                     MS. WEISKOPF:      Object to form.
12                     THE WITNESS:     Yes.
13                     MR. LESKO:    So you didn't feel like your
14         review of this case was rushed or you were told
15         to ignore certain evidence or anything like that?
16          You felt like you had a full consideration of
17         the evidence listed in Paragraph 18?              Is that
18         correct?
19                     MS. WEISKOPF:      Object to form, asked and
20         answered.
21                     THE WITNESS:     I felt that I -- I felt
22         that I was given the freedom, and also that I
23         actually performed a complete review of the
24         relevant materials.
25                     MR. LESKO:    Dr. Wolfe, if you could



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1          please download or open the Plaintiff's Exhibit
2          4.    It's been marked in the deposition folder.
3          And let me know when you have that in front of
4          you.
5                          (Whereupon,      the       above-referred           to
6          document was marked as Plaintiff's Exhibit No. 4
7          for identification.)
8                          THE WITNESS:     I do have it.
9                          BY MR. LESKO:
10               Q    If you could skim through this document.
11          And do you know what this document is?
12               A    My    understanding        is    that    this     was
13         testimony that was provided by Dr. Hughes in
14         another case relating to the same two patents.
15               Q    Okay.    So if you look at -- you don't
16         have to go back to your declaration.                  Is this the
17         -- does this look like the expert declaration of
18         Dr. Hughes dated December 12th, 2022, that's
19         listed in Paragraph 18 of Plaintiff's Exhibit 1?
20               A    It appears to be.          It has the same
21         docket number.
22               Q    Okay.     And so according to Paragraph 18
23         of Plaintiff's Exhibit 1, your declaration, you
24         reviewed this document of Dr. Hughes.                     Is that
25         correct?



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1                A    I did.
2                Q    If    you   turn      to    Paragraph            12    of
3          Plaintiff's Exhibit 4.            Are you there?
4                A    Yes.
5                Q    Did you see the list of materials in
6          Paragraph 12?       There's Materials A through T in
7          Paragraph 12.       It's a list.          Do you see that?
8                A    Yes.
9                Q    So you read Paragraph 12 of Dr. Hughes's
10         declaration before finalizing the declaration.
11         Is that correct?
12               A    Yes.
13               Q    Now, looking at Paragraph 12, if you can
14         tell me by letter indication which of these
15         documents A through T did you review while you
16         were drafting your declaration that you submitted
17         in this matter?
18               A    I don't want to go through some matching
19         exercise    here.         I've      already          told    you       and
20         disclosed the documents that I reviewed.
21               Q    Okay, so I'll help you.              So, A and B are
22         the patents, and you reviewed those.                    So, here in
23         Exhibit 4, there's 12a and 12b.                 You viewed both
24         of those.       Is that right?
25               A    As I said, I've already told you in



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1          writing and in answering your questions exactly
2          what documents I reviewed.
3                Q    Okay.     12c     is    a      portion    of    the
4          prosecution history and you said you review that
5          prosecution history.         Is that correct?
6                A    I did review portions of the prosecution
7          history of the 9,936,116 patent.
8                Q    Okay.    12d and 12e, those are also --
9          yeah,      you   already   said      12d.          You   said    you
10         reviewed the '761 patent file history, right?
11               A    I did.   Again, I haven't seen those
12         particular Bates numbers, but I have reviewed the
13         prosecution history of the '761 patent.
14               Q    And 12e, your reviewed the prosecution
15         history of the '472 patent.             Correct?
16                A    Correct.
17                Q    So, 12f is Defendant's Updated List of
18         Proposed Terms for Construction, and there we're
19         talking about the Defendant's TCL.                 Did you
20         review      that    document         in      preparing        your
21         declaration?
22               A    No.
23               Q    Let's say 12g and h are other claim
24         construction documents from the CEV versus TCL
25         litigation.      Did you review either of those in



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1          preparing your declaration, Plaintiff's Exhibit
2          1, in this case?
3                A    No.   As I said, I told you exactly
4          multiple times what I reviewed in preparing my
5          declaration.
6                Q    Can you answer the question?
7                A    I did answer the question.
8                      MR. LESKO:      Reporter, can you read back
9          the question to Dr. Wolfe?
10                     COURT REPORTER:         Give me a moment.
11                     (Whereupon, the record was read back.)
12                     MS. WEISKOPF:        I'm going to object to
13         relevance.
14                     MR. LESKO:      Can you answer the question,
15         Dr. Wolfe?
16                     THE WITNESS:       I will repeat my answer.
17         No.    I have already provided you, both in writing
18         and in response to your prior questions, a list
19         of exactly what I reviewed in this case.
20                     MR. LESKO:        Okay.      Let's say, Paragraph
21         12i, declaration of Dr. Ryan Garlick, did you
22         review that in preparing your testimony in this
23         case?
24                     MS. WEISKOPF:        Objection, relevance.
25                     THE WITNESS:       I believe I've answered



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1          that already.    I did not.
2                     MR.   LESKO:            12j,     the     deposition
3          transcript of Dr. Ryan Garlick taken on December
4          2nd, 2022, did you review that in preparing your
5          declaration?
6                     MS. WEISKOPF:           Objection, relevance.
7                     THE WITNESS:          As I've told you now many
8          times, that is not one of the things that I
9          relied     on    or      reviewed          in       preparing       my
10         declaration.
11                    MR. LESKO:         Okay.      So 12k through 12t in
12         this Plaintiff's Exhibit 4, did you review or
13         rely on any of those documents for preparing a
14         declaration?
15                    MS. WEISKOPF:           Objection, relevance.
16                    THE WITNESS:          As I testified several
17         times now, those are not documents on the list of
18         what I reviewed or relied on for preparing my
19         declaration.
20                    MR. LESKO:         Do you see here that Dr.
21         Hughes states, the data or other information that
22         I considered in forming the opinions that I may
23         express in this phase of the action include those
24         detailed in the listing that follows.                     You see
25         that in Paragraph 12 of this Plaintiff's Exhibit



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1          4, correct?
2                           THE WITNESS:       Yes.
3                           BY MR. LESKO:
4                Q     So      you         reviewed          Dr.        Hughes's
5          declaration.        So everything in Paragraph 12, you
6          are       aware   that     it    existed         at    the   time    you
7          prepared your declaration?                Is that right?
8                A     I'm aware that it existed, yes.
9                Q     Did anyone tell you to not review these
10         materials?
11               A     No.
12               Q     So    you    chose      not     to    review     the
13         materials, aside from those that you said you
14         reviewed in Paragraph 12?
15                       MS.    WEISKOPF:            Object       to    form.
16         Relevance.
17                       THE WITNESS:          I reviewed the materials
18         that I believed at the time were relevant and
19         necessary to form the opinions that I provided in
20         my declaration.          And I have provided you with a
21         list of those materials, and I have testified as
22         to what materials I reviewed.                  Those are the
23         materials that I chose to review.
24                       MR. LESKO:         Okay.      So, 12f through 12t,
25         you were aware of them and you chose not to



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1          review?
2                          (Simultaneous speaking.)
3                          MS. WEISKOPF:        Objection.         Asked and
4          answered.
5                          THE WITNESS:      Yes, I was aware of
6          thousands of documents that I did not review for
7          purposes of this declaration.
8                          MR. LESKO:      So you didn't mention these
9          materials in your declaration, either, did you?
10         12f through 12g in Plaintiff's Exhibit 4?
11                         MS. WEISKOPF:       Object to form.         It's
12         vague and irrelevant.
13                         THE WITNESS:      My declaration stands on
14         its own.        But I don't recall mentioning the
15         documents       that   are     listed       in       Paragraph   12
16         Subsections f through p in my declaration.
17                         MR. LESKO:     So you didn't explain in
18         your       declaration    how     these      might      have     been
19         relevant to your opinion or not relevant to your
20         opinion?
21                         MS. WEISKOPF:       Object to form.
22                         THE WITNESS:      I've already told you I
23         don't recall mentioning them in my declaration at
24         all.        I   certainly      did     not     explain     in    my
25         declaration every document that was not relevant



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1          to my opinion.
2                       MR. LESKO:       So, we've been going an hour
3          here.      Do you want to take a break or do you want
4          to keep going, Dr. Wolfe?             I'm fine either way.
5                       THE WITNESS:        I'm fine either way, as
6          well.
7                       MR. LESKO:       All right.            We can just keep
8          going.     No problem.      Figured I would offer.
9                       BY MR. LESKO:
10               Q    So let's say in Plaintiff's Exhibit 4,
11         if you could.       We will turn to Paragraph 67,
12         which is on Page 25.          Let me know when you get
13         there.
14               A    Okay.
15               Q    Are you there, Dr. Wolfe?
16               A    I am.
17               Q    Okay, thanks.        So there's a heading
18         there, The Device.         Do you see that?
19               A    Yes.
20               Q    Okay.    So in Plaintiff's Exhibit 4,
21         Paragraph 67 through 83, are under the heading
22         The Device.        Do you agree?
23               A    Yes.
24               Q    So, in preparing your declaration, did
25         you review these Paragraphs 67 through 83 from



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1          Plaintiff's Exhibit 4?
2                A    I read them.       I didn't rely on them
3          because I haven't provided an opinion on the
4          phrase the device in my declaration.
5                Q    So you're aware of these paragraphs in
6          Plaintiff's Exhibit 4 and you did read them?
7                A    Yes.
8                Q    I think you just said you didn't comment
9          on them in your declaration at all.                    Is that
10         correct?    The declaration you submitted in this
11         matter?
12               A    Correct.     That is not one of the topics
13         I was asked to provide opinions on.
14               Q    So were you told to ignore them or you
15         chose to ignore these Paragraphs 67 through 83?
16                     MS.          WEISKOPF:                        Objection,
17         mischaracterizes evidence -- testimony, I mean.
18                     THE WITNESS:         Neither.           They simply were
19         not on a topic that I was asked to provide
20         testimony or opinions on.
21                     MR. LESKO:        That claim language, the
22         device, is that part of the claim term that you
23         opined on?    Does it appear in the claim term that
24         you opined on, those words, the device?
25                     MS. WEISKOPF:          Objection, vague.



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1                           THE WITNESS:        They do.
2                           MR.    LESKO:          So    is    it     possible        a
3          discussion of the device could be relevant to
4          your       discussion        of   the    claim         terms       in   the
5          declaration?
6                           MS. WEISKOPF:          Object to form.            Vague.
7                           THE WITNESS:        I don't know what you mean
8          by it's possible.            It's certainly possible that
9          it could be relevant to some discussions of those
10         claim      terms,      but    it's      not       important        to   the
11         opinions that I provided.                The opinions that I
12         provided are accurate whether or not the phrase
13         the device is indefinite.
14                       BY MR. LESKO:
15                Q     Okay,      let's      go    back      to    Plaintiff's
16         Exhibit      4,    and     starting          on    PDF   Page       30,
17         Paragraphs 84 through to 116, let's say.                           If you
18         could just skim through that and tell me, did you
19         read those paragraphs while you were reviewing
20         Dr.    Hughes's        declaration           in    preparing        your
21         declaration in this manner?
22               A     I did.
23               Q     So    you    were      clearly         aware      of    them
24         because you read them, right?
25               A     Yes.



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1                Q    Were you instructed to ignore them?
2                A    No.    As we've -- I've testified several
3          times, I was not instructed to ignore anything.
4                Q    Okay.   So you decided to ignore -- I'm
5          sorry.     I've got to look at the paragraphs here.
6           Let me start again.         Withdraw the question.
7                       You decided not to comment in your
8          declaration on Paragraphs 84 through 116 of
9          Plaintiff's Exhibit 4.          Is that correct?
10                     MS.         WEISKOPF:                        Objection,
11         mischaracterizes testimony.
12                     THE WITNESS:        I don't recall whether or
13         not I commented on any of those paragraphs.                      I
14         would have to go back through my declaration
15         again.     My declaration is what it is.                 But I
16         don't recall relying, in any substantial way, on
17         that particular set of paragraphs, because those
18         paragraphs don't specifically address the topic
19         of my opinions.
20                     MR. LESKO:       Well, if there was an item
21         in Paragraphs 84 through -- let me start again.
22         I withdraw the question.
23                     If there was an item or an opinion by
24         Dr. Hughes in Paragraphs 84 through 116 that you
25         disagreed with, would you have commented on that



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1          in your declaration that you submitted in this
2          matter?
3                       MS.    WEISKOPF:           Object            to    form,
4          mischaracterizes testimony.
5                       THE WITNESS:         Not necessarily.                  I was
6          asked to provide opinions in this declaration on
7          a specific set of topics.              Whether or not I
8          disagree     with      other     statements           made          by   Dr.
9          Hughes, I was not doing a comprehensive critique
10         of    all   of   Dr.     Hughes's       opinions           in       my
11         declaration.       I was providing my opinions on
12         specific claim construction issues, and where it
13         would be helpful for the court for me to contrast
14         those with statements made by Dr. Hughes with
15         respect     to   that     specific        set        of    issues,           I
16         included those.
17                     MR. LESKO:         Okay, but you certainly had
18         Paragraphs 84 through 116 in front of you, so you
19         had the opportunity to comment on them if you
20         felt it was necessary.            Is that right?
21                     MS.     WEISKOPF:           Objection              to    form,
22         mischaracterizes testimony.
23                     THE WITNESS:          I was asked to address a
24         specific set of issues in my report.                       I focused
25         my report on addressing that set of issues.                              I



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1          did not address issues outside of what I was
2          asked to do, whether or not that was possible or
3          not.
4                        MR. LESKO:    If you look on PDF Page 30
5          of Plaintiff's Exhibit 4.           It says cellular
6          network access fees.        Does that term, cellular
7          network access fees, appear in the claim language
8          of elements (f)(i) and (f)(ii) of Claim 1 of the
9          '761 patent or Claims 1 and 5 of the '472 patent?
10                      THE WITNESS:      Those words appear as part
11         of longer phrases.       So, the actual phrase in the
12         '761 patent is potential cellular network access
13         fees.      Let me pull up '472 to make sure I get
14         that phrase right.
15                      The phrase in the '472 is potentially
16         increased cellular network access fees.                 And then
17         that's further qualified in the claim.
18                      MR. LESKO:     Okay.      So you agree that
19         these terms that are discussed in Paragraphs 84
20         through 116 of Plaintiff's Exhibit 4, they are a
21         part of the terms that you address in your
22         declaration in this matter?
23                      MS.   WEISKOPF:         Object       to    form,
24         mischaracterizes testimony, asked and answered.
25                      THE WITNESS:      Those words do appear in



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1          the functions of the two -- the three claimed
2          controller terms that I opined on, as parts of
3          longer phrases.
4                     MR.   LESKO:        But     you      felt   it       was
5          unnecessary to carefully review or opine on
6          Paragraphs 84 through 116 that address those
7          phrases in Dr. Hughes's declaration, Plaintiff's
8          Exhibit 4?
9                     MS.   WEISKOPF:         Object       to     form,
10         mischaracterizes his testimony.
11                    THE WITNESS:      I did review them.             I
12         didn't think I needed to provide any additional
13         testimony, other than what's in my declaration,
14         in order to express the opinions that are in the
15         declaration.
16                    MR. LESKO:     So if there was something in
17         Paragraphs 84 through 116 that you felt you
18         needed to comment on or clarify, you would have
19         provided that opinion in your declaration in this
20         matter?
21                    MS. WEISKOPF:       Object to form, vague,
22         mischaracterizes testimony.
23                    THE WITNESS:      Again, I don't understand
24         when and how and for what purpose -- I was able
25         to express and explain the opinions that are



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1          included     in     my     declaration         by       using      the
2          references to Dr. Hughes's declaration that are
3          present there.         And I do not feel, and did not
4          feel,      that    I   need      to      comment        on    any     other
5          portions of Dr. Hughes's declaration in order to
6          express those opinions.
7                       BY MR. LESKO:
8                 Q    Is     there      any     explanation            in    your
9          declaration of how Paragraphs 84 through 116 of
10         Plaintiff's Exhibit 4 influenced your opinions in
11         your declaration?
12                A    I don't recall.            Would you like me to go
13         through the declaration and look?
14                Q    Another way to say it is this: if it's
15         not in there, if you don't refer to 84 through
16         116 at all, did it have any impact on the opinion
17         that you offered in your declaration?
18                      MS. WEISKOPF:            Object to form.              Vague.
19                      THE WITNESS:           And as I testified before,
20         I   cited    to    every       portion        of       Dr.   Hughes's
21         declaration that was necessary for me to express
22         the opinions that are in my declaration.                           I read
23         additional        portions,        but    I    did      not       find
24         commenting on them to be necessary in order to
25         express the opinions that are in my declaration.



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1                           BY MR. LESKO:
2                    Q    I think earlier when we were discussing
3          your declaration you referred to the fact that
4          you were aware of prior proceedings involving
5          these same patents.          Does that -- let me ask you
6          a different way.         Are you aware that these
7          patents were involved in prior litigation, ones
8          that       you   comment    on    in    your         declaration,
9          Plaintiff's Exhibit 1?
10                A      It is my understanding that Plaintiff's
11         Exhibit 4 is a document from a prior litigation.
12          And so that means that it is my understanding
13         that the two patents at issue here were at issue
14         in a prior litigation.
15                Q      And when did you become aware of that
16         fact?
17               A       When I saw Plaintiff's Exhibit 4.
18               Q       So you were provided this declaration
19         and that made you aware of the prior litigation
20         proceedings?         Is that a fair characterization?
21         Plaintiff's Exhibit 4 was given to you, and then
22         you became aware that the patents were involved
23         in litigation?
24               A       Yes.
25               Q       Do you know that there was a Markman



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1          proceeding in that prior CEV v.                TCL case that's
2          captioned here in Plaintiff's Exhibit 4?
3                 A     I don't know one way or another whether
4          or not there was a hearing.
5                 Q     Did you ask if there was a hearing?                 Did
6          you ask counsel, for example, if there was a
7          hearing involving these patents?
8                 A     No.
9                 Q     Plaintiff's Exhibit 4, if you look at
10         Paragraph 12h, it refers to Defendant's Opening
11         Claim Construction Brief.             Did you read -- I
12         think      earlier   you    said      you     did   not    review
13         Defendant's Opening Claim Construction Brief,
14         item 12h on this list.           Is that correct?
15                A     That's correct.
16                Q     Did you ask for item 12h?
17               A     No.    TCL's positions in a related case
18         were       not   relevant   to     the     opinions       that   I
19         presented.
20               Q     And what about opinions of TCL's expert
21         in a related case?          Would those be relevant?
22               A     No.    I formed my opinions independently.
23          I did not base them on Dr. Garlick.                  I assume
24         that's who you're referring to.                I did not base
25         any of my opinions on Dr. Garlick's opinions.



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1                Q    So     you    never     even      have     seen    Dr.
2          Garlick's opinion, is that correct?
3                A    I believe Dr. Hughes may have cited one
4          or two of them, or repeated one or two of them,
5          but that would be the only way I would have seen
6          it.
7                Q    So any testimony of Dr. Garlick that
8          you've seen would have been only what's cited in
9          Plaintiff's Exhibit 4, Dr. Hughes's declaration,
10         is that correct?
11               A    That's my recollection.
12               Q    And so, just to keep this simple, it
13         sounds     like    you     did     not     review     any     claim
14         construction briefing, oral arguments, or other
15         litigation documents that were part of the CEV v.
16          TCL proceeding, as captioned here on Plaintiff's
17         Exhibit 4.        Is that right?
18               A    I'm not sure I understand the question.
19          As we've discussed, I have reviewed Dr. Hughes's
20         declaration.
21               Q    Yeah, maybe that's an easier way to
22         phrase the question.            And I apologize, it was a
23         vague question.          Let's try again.
24                     Plaintiff's Exhibit 4 is the Dr. Hughes
25         declaration from Cutting Edge Vision v.                      TCL.



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1          And aside from that document, did you review any
2          other documents from Cutting Edge Vision v.                       TCL
3          in preparing your declaration in this matter?
4                A     Not that I can recall.              But, as I said,
5          I've       disclosed,     either      through         citations   or
6          through listing, all the documents that I relied
7          on in preparing my declaration.
8                       MR. LESKO:       Would we be able to take a
9          short break here?          Is that okay with everybody?
10                       MS. WEISKOPF:          Yeah.      How long would you
11         like, Justin?
12                       MR. LESKO:        Just five minutes.           Just to
13         use the bathroom.
14                       MS. WEISKOPF:          Okay.      Thank you.
15                       MR. LESKO:        Thanks, everyone.
16                       COURT REPORTER:           Sounds good.        We're off
17         the record.
18                       (Whereupon, the above-entitled matter
19         went off the record at 10:24 a.m. and resumed at
20         10:31 a.m.)
21                       COURT REPORTER:           We are back on the
22         record at 10:31 a.m.            Pacific.
23                       BY MR. LESKO:
24               Q     So, just a bit of housekeeping here, Dr.
25         Wolfe.      Can you look at Plaintiff's Exhibit 3 in



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1          the Box folder, please?
2                    A    Okay.
3                 Q      Do you recognize that document?
4                 A      Yes.
5                 Q      So is that U.S. Patent number 11,153,472
6          that we've been discussing and that you discussed
7          in your declaration?
8                            (Whereupon,        the       above-referred             to
9          document was marked as Plaintiff's Exhibit No. 3
10         for identification.)
11               A       It appears to be.
12               Q       Okay.    So, Dr. Wolfe, if you could
13         please pull up Plaintiff's Exhibit 5.                         Have you
14         ever       seen    this     document       before,        Plaintiff's
15         Exhibit 5?
16                        (Whereupon,           the       above-referred            to
17         document was marked as Plaintiff's Exhibit No. 5
18         for identification.)
19               A       I don't recall having seen this before.
20               Q       Okay.    So this Plaintiff's Exhibit 5,
21         you've never seen.             It wasn't considered as part
22         of    the     materials        reviewed        to       prepare    your
23         declaration?
24               A       It was not.       As we've discussed a number
25         of times, I've already told you what materials I



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1          considered.
2                Q    Okay.   So, Dr. Wolfe, are you familiar
3          with the term microprocessor?
4                A    Yes.
5                Q    What is a microprocessor?
6                A    I think it depends on the context and
7          the timeframe.
8                Q    So, let's say as of 2005, October of
9          2005, how would you describe a microprocessor?
10               A    Again, I think it would depend on the
11         context, but it would be common at that time to
12         use that phrase to describe the primary computing
13         component of a general purpose computer that
14         would perform different computing tasks based on
15         how it was programmed.
16               Q    So the phrase, the word microprocessor,
17         does that typically refer to a physical item?
18               A    Again, it depends on the context, but
19         typically it would be a physical item.
20               Q    So were you ever aware of someone using
21         the term microprocessor to refer to something
22         that wasn't physical?
23               A    Yes.
24               Q    And how would that happen?
25               A    During the design and development phases



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1          microprocessors are modeled.               They're simulated.
2           They are virtualized.            They are emulated.           So
3          there are exceptions, depending on context, to
4          using      that    term    necessarily        for   a     physical
5          object.      But certainly it was most common to use
6          that term to refer to a physical object.
7                Q     Would    you    say    that's      usually     a
8          structural        object,    too,     the     microprocessor?
9          Like, an object that has structure?
10                      MS. WEISKOPF:         Objection, vague.
11                      THE WITNESS:         I think that's a legal
12         term.      A person of ordinary skill in the art
13         typically would not talk about whether or not a
14         microprocessor had structure.
15                      MR. LESKO:       But you discuss structure in
16         your declaration, right?
17                      THE WITNESS:         Yes.     I'm applying the
18         legal standard as it was explained to me by
19         counsel.
20                       BY MR. LESKO:
21               Q    Okay.    When you refer to structure in
22         your declaration, you're referring to structure
23         in a legal sense.          Is that your testimony?
24               A    Yes.     Yes.    I mean, as I said, that's
25         not a term that an engineer would normally use in



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1          dealing     with    a     microprocessor              or   any    other
2          electronic system.             But it does have a specific
3          legal meaning, as it's been explained to me, and
4          that's what I've applied in my opinions.
5                Q    Is   a   microprocessor              part       of   an
6          electronic system?
7                A    It could be, along with other parts.                        I
8          mean, a microprocessor alone doesn't, typically,
9          do anything.
10               Q    Is   there      a    difference            between     a
11         microprocessor and a microcontroller?
12               A    Again,   it       depends       on    context         and
13         timeframe.
14               Q    Let's say we're talking 2005 October.
15         What's the difference between a microprocessor
16         and a microcontroller?
17               A    Again, it would depend on context.                        But
18         oftentimes, in that timeframe, a microprocessor
19         referred to what we would typically call a CPU, a
20         single compute engine; where most commonly, in
21         that timeframe, a microcontroller also included
22         some input/output functionality and some memory
23         integrated onto the same chip.
24               Q    So, at that timeframe, a microcontroller
25         has more elements integrated into it than a



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1          microprocessor?
2                A    Again, depends on context, but in what I
3          think is probably the most common usage at the
4          time, that would be true.
5                Q    What are, like, the basic elements of a
6          microprocessor in that timeframe, October of
7          2005?
8                A    Again, it would depend on context and
9          there would be a lot of variability.                      There are
10         many different kinds of microprocessors in that
11         timeframe, but, might include a program counter
12         and arithmetic logic unit, a status register.
13         But, again, a lot of variation.                 There are a lot
14         of different approaches that could be used.
15         There's no single answer to that question.
16               Q    So   the   word      micro      in       the   term
17         microprocessor or microcontroller, what is that
18         referring to?     Why does it say micro?
19               A    Again, that depends on timeframe and
20         context.    But, initially, it was introduced in
21         the 1980s as a way to differentiate computers
22         that might be the size of a refrigerator from
23         computers where the primary computing elements
24         were on a single piece of silicon.
25               Q    So the word micro, just to clarify, is



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1          that usually the physical size of the item, the
2          microcontroller or the microprocessor?                      Are you
3          talking about physically how large it is?
4                 A    Again,    it     depends     on    context        and
5          timeframe, but, in many cases, it would refer to
6          the physical size.           By 2005, it had become almost
7          irrelevant because other kinds of processors
8          were, predominantly, obsolete.
9                 Q    So microprocessors and microcontrollers,
10         as of 2005, sort of dominated the market for a
11         CPU or a computing device?
12                      MS. WEISKOPF:         Object to form, vague.
13                      THE WITNESS:        In general, although there
14         were       hundreds     of      different           kinds     of
15         microprocessors and microcontrollers at the time,
16         and        they      often       had        quite           different
17         characteristics.
18                      BY MR. LESKO:
19                Q    Would you say that a microprocessor
20         refers to a class of electronics devices?
21                A    It depends what you mean by a class of
22         electronic devices.          I mean, you can build a
23         class       out       of      anything,             abstractly.
24         Microprocessors       were      used     for        many,   many
25         different things in the 2005 timeframe, and they



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1          weren't necessarily interchangeable or suitable
2          for other things.
3                        Some microprocessors would be suitable
4          for supercomputing, others would be suitable for
5          a smoke detector.        They would differ in key
6          characteristics by factors of tens of thousands.
7           They would not be suitable replacements for each
8          other.       They wouldn't necessarily contain the
9          same components.         They wouldn't contain the same
10         components.        They wouldn't -- the components that
11         they did have in common wouldn't be connected
12         together      in   the   same      way,     and     wouldn't     be
13         quantitatively similar.
14                       So, if you make a class big enough --
15         objects as a class, physical objects, right, is a
16         class.     But it really just depends on how big you
17         make the grouping as to whether or not it would
18         be reasonable to make microprocessors into a
19         class.
20               Q    Well, is there a commonality -- if you
21         use    the    term   microprocessor,           let's      say,   in
22         October 2005, would a skilled artisan -- would
23         that signal a specific type of item to a skilled
24         artisan?
25               A    I would say, no, not a specific type.



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1          Because if you told me to go get a microprocessor
2          and didn't give me a great deal more detail, I
3          would not be able to go get one that was suitable
4          for your needs.
5                Q    So if I had some detail about the
6          operations        that     the     microprocessor            was    to
7          perform,          could          you      find         a      suitable
8          microprocessor?          Could a skilled artisan find one
9          in October of 2005?
10                       MS. WEISKOPF:            Object to form.
11                       THE WITNESS:          If you had sufficient
12         detail, then they probably could, but that could
13         be    quite   a    bit      of     detail      depending       on    the
14         context.
15                       MR. LESKO:         Okay.      But usually, if I
16         said these are the operations I need and I need a
17         microprocessor for it, somebody skilled in the
18         art in October of 2005 would understand what
19         they're looking for, at least.                   Is that a fair
20         statement?
21                       MS. WEISKOPF:            Object to form, vague.
22                       THE WITNESS:          No, it would depend on
23         whether    or     not      you     had    provided         sufficient
24         detail.    If you told me that you needed a
25         microprocessor           that       could        calculate         and



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1          communicate, that would be not enough for me to
2          figure out what you were looking for.                        If you
3          told me a great deal more detail, then it might
4          be.
5                          MR. LESKO:      Another way to phrase it is
6          what -- would I know -- would a skilled artisan
7          in 2005, October 2005 at least know the group of
8          items      to    pull   from      if    I    said     give     me     a
9          microprocessor to perform these operations?                         So
10         would they be looking at, for example, memories?
11                         THE WITNESS:       They might be looking at
12         things that included memories.                  I mean, yes,
13         there would be some boundary, but that boundary
14         would be huge, and it would include a wide
15         variety of things that are not substitutable for
16         each other and that are not equivalent to each
17         other.     If you draw a big enough box, it can
18         incorporate everything.              If you draw a slightly
19         smaller         box,    it      can      incorporate           almost
20         everything.
21                         But you need to really be relatively
22         specific in describing what the expectations are
23         of a microprocessor, and how it's to be used in
24         some reasonable detail in order for a person of
25         ordinary skill to understand what you're talking



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1          about.     I mean, clearly if you just told me you
2          need electronics, that would include some things
3          and not other things, but it wouldn't give me
4          enough     guidance     to    be    able      to    bring       you
5          electronics in a box that were suitable for your
6          needs.
7                       BY MR. LESKO:
8                Q    But in reviewing your CV, just going to
9          change topics here.          You're a named inventor on a
10         number of U.S. patents and patents abroad, is
11         that correct?
12               A    Yes.
13               Q    Approximately how many patents have you
14         been a named inventor on?
15               A    I believe 90-some.
16               Q    Okay.      And     in    the     course        of    your
17         involvement in -- let me withdraw that question,
18         sorry.     So are you aware of something called the
19         duty of disclosure, candor, and good faith at the
20         U.S. Patent Office?
21               A    I am aware of it.          I am not a patent
22         attorney or a patent examiner or a -- but it has
23         been explained to me in my role as an inventor.
24               Q    Okay.   And what's your understanding of
25         what that means?



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1                A     It's been some time.              I haven't filed a
2          patent      in    many       years,    but,      in        general,   my
3          understanding           is    that    you     are      expected       to
4          disclose your invention in sufficient detail that
5          a person -- that enables a person of ordinary
6          skill in the art to practice the invention, that
7          you must provide sufficient detail to show that
8          you were in possession of the invention at the
9          time of filing.          And you need to disclose any
10         relevant prior art that you're aware of.
11               Q    Okay, and that applies to inventors.                       Is
12         that right?
13               A    That's the way I form my understanding.
14          Yes.
15               Q    Okay.    So I'm reading from the USPTO
16         rules.     It says each individual associated with
17         the    filing     and        prosecution       of      a    patent
18         application has a duty of candor and good faith
19         in dealing with the office, which includes the
20         duty to disclose to the office all information
21         known      to    that    individual         to    be       material    to
22         patentability as defined in this section.                        So
23         does that generally reflects your understanding
24         of your duty as an inventor to the USPTO?
25               A    Generally, it does.              Again, I'm not



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1          going to give you a legal opinion on it, but
2          that's my general understanding.
3                Q    All right.    So and I understand you're
4          not a lawyer giving legal opinions but part of
5          that you would agree is if you're an inventor
6          involved in a filing with the Patent Office, you
7          should be honest with the Patent Office, right?
8                A    Yes.   In fact, more than that, honest
9          and complete.
10               Q    And I know you said this was a long time
11         ago, but for writing your patent applications,
12         was it your practice to write any portions of the
13         specifications in the patent applications that
14         you submitted?
15                     MS. WEISKOPF:        Object to form.          This is
16         getting pretty far afield.
17                     THE WITNESS:       I also want to be careful
18         that I don't -- I don't own any of these patents.
19          I wasn't paying the attorneys.              I want to be
20         careful that I don't go past privilege here.                   I
21         produced inventions in a number of contexts.                   I
22         don't believe I was ever the assignee.                  I would
23         write an invention disclosure.              I would provide
24         that to a patent attorney or a patent agent.
25         Depending    on   the    circumstances,           that    patent



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1          attorney or patent agent may copy portions from
2          my invention disclosure verbatim into the patent
3          application, or they may paraphrase it in other
4          ways.
5                          I     would    also    often      have       verbal
6          discussions with patent prosecutors to expound on
7          or explain portions of my invention disclosure.
8          Those would sometimes be turned into text by the
9          patent prosecutor.             And then I would always read
10         and approve a patent application prior to its
11         filing to ensure that it accurately reflected
12         what I had invented, and that it did not have any
13         misrepresentations, and that, as far as I could
14         tell       at   the    time,     the     explanations         were
15         sufficient.
16                         MR. LESKO:       So if you noticed any errors
17         in the patents that you were an inventor on, you
18         would      correct      them     or    ask     the     prosecuting
19         attorney to correct those errors?
20                         THE WITNESS:        Prior to filing.           I, in
21         general have not had any interaction post-filing
22         with any of my patent applications.
23                         BY MR. LESKO:
24               Q     All right, thanks for the clarification.
25          And that's what I meant.                So in preparing the



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1          applications before you file them, it sounded
2          like you would review them.            And if you noticed
3          errors or omissions, you would raise that with
4          the prosecuting attorney.
5                A    Yes.
6                Q    I'm looking at -- I'm gonna put in the
7          folder Plaintiff's Exhibit 6.
8                       (Whereupon,       the       above-referred          to
9          document was marked as Plaintiff's Exhibit No. 6
10         for identification.)
11               A    Okay.
12               Q    Hang on one second here.               I'm sorry, I
13         think I marked the wrong exhibit here.                  I'm going
14         to mark a Plaintiff's Exhibit 7 here and put in
15         the Box.    You can close Plaintiff's Exhibit 6.
16         My apologies.      Okay, so Plaintiff's Exhibit 7
17         should now be there.        If you could open it,
18         please.
19                     (Whereupon,        the       above-referred          to
20         document was marked as Plaintiff's Exhibit No. 7
21         for identification.)
22               A    Yes.
23               Q    Okay.   You see on the front there, your
24         name is on Page 1 as an inventor.                 It says
25         inventors Andrew L.       Wolfe, do you see that?



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1                A    Yes.
2                Q    Okay.   So is this one of your patents,
3          Plaintiff's Exhibit 7?
4                A    It's one where I'm listed as a named
5          inventor.
6                Q    Okay.   Could you scroll to Page 4 of
7          Plaintiff's Exhibit 7?
8                A    Okay.
9                Q    So there's a Figure 2 there on Page 4 of
10         this document.      Do you see it?
11               A    Yes.
12               Q    Okay.   So if you look at Item 206 in
13         Figure 2, it says memory.           Do you see that?
14               A    Yes.
15               Q    Based on your understanding of that
16         term, is that memory a physical item?
17               A    I don't think I've read this patent in
18         almost 20 years.      I'm not going to start giving
19         you definitions based on one box in a picture.
20               Q    Are you aware of a situation where a
21         memory is something that isn't, you know, a
22         physical location somewhere or physical storage?
23               A    Depends on context.         At some level,
24         memory is always physical storage, but when we
25         refer to it, it could be a virtual memory, it



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1          could be an emulated memory.              It needs to be
2          considered in context before you can determine
3          what the particular words are referring to.
4                Q    Well, what about input switches?                  See
5          item number 203.       Would that be physical input
6          switches or is that -- can that mean something
7          else?
8                A    Again, I haven't read this patent in
9          almost 20 years.       I -- it would depend on what
10         the    description     is    in    the     text.         I    would
11         certainly think that it could be a physical input
12         switch.
13               Q    What other type of input switch is
14         there?
15               A    You can have software switches.                But
16         again, I don't recall what was described in this
17         particular patent.
18               Q    If you look at Item 224 there's a
19         speaker.    Item 222 there's a monitor.                  Item 220
20         there's a TV.    Do those appear to be physical
21         items just based on what they say, TV, monitor,
22         speaker?
23               A    Just based on Figure 2 alone, they do
24         appear to be physical objects.
25               Q    You've got Item 208 in the center.



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1          That's the controller.           You see that?
2                A    It is a controller.          Yes.
3                Q    Now I notice all of the items in this
4          figure are in boxes.         Do you know why?
5                A    I do not.
6                Q    Does this look like a block diagram to
7          you?
8                A    It generally looks like one.
9                Q    In   a   block    diagram,        are    the     items
10         typically placed in boxes?
11               A    That would be typical.
12               Q    Would    that    be    a   common       format     in
13         patents, sometimes you put the items in boxes in
14         a block diagram?
15                     MS. WEISKOPF:         Object to form, vague.
16                     THE WITNESS:         That's not unusual.           In a
17         well-written patent, there would be additional
18         text to describe what each box represents.
19                     MR. LESKO:       But sometimes, even if
20         there's text describing what each box represents,
21         sometimes there's high level block diagrams in a
22         patent in your experience, is that right?
23                     THE WITNESS:         Sometimes patents include
24         high level block diagrams.
25                     MR. LESKO:       And so even if there's a



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1          structure or even if there's a physical item in
2          the block diagram, it's not always described in
3          the diagram itself.         Is that right?
4                         MS. WEISKOPF:      Object to form.
5                         THE WITNESS:     I'm certainly aware of
6          patents where there's a physical item in a block
7          diagram, and the physical item is not described
8          in the diagram itself.
9                         MR. LESKO:    If you look at -- if you
10         could scroll down please, Dr. Wolfe, to Column 15
11         of this patent, Lines -- Line 36.
12                      THE WITNESS:       Okay.
13                      BY MR. LESKO:
14               Q    Can you read the sentence that begins at
15         Line 36?
16               A    In addition, use of the term means in
17         any    claim    is   intended      to     invoke     35    U.S.C.
18         Section 112, Paragraph 6, and any claim without
19         the word means is not so intended.
20               Q    What's    your    understanding         of     that
21         statement?      What does it mean?
22                     MS. WEISKOPF:         Object to form; it's a
23         legal issue.
24                     THE WITNESS:        I didn't write that;
25         attorney did many years after I had provided my



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1          invention     disclosure,       and       it's        also   my
2          understanding that the law has changed over time
3          with respect to 35 U.S.C.         112, Paragraph 6.          So,
4          as an inventor on this patent, I don't have any
5          understanding of whether or not that phrase is
6          operable or -- and to me, it means exactly what
7          it says.
8                      MR.   LESKO:           You          received     some
9          instruction on the law about intrinsic evidence
10         in preparing your declaration.            Is that right?
11                     THE WITNESS:     Yes.
12                     MR. LESKO:    Okay, so would you agree
13         that this sentence at 15, 36 through 38 that you
14         just read to me, is that part of the intrinsic
15         record for this patent, Exhibit -- Plaintiff's
16         Exhibit 7?
17                     MS. WEISKOPF:      Object to form.
18                     THE WITNESS:     I don't know; that's
19         really a legal issue.       I don't know whether or
20         not legal statements made in patents are part of
21         the intrinsic record or not.
22                     MR. LESKO:    Is the specification part of
23         the intrinsic record of a patent?
24                     THE WITNESS:     It generally is, yes.
25                     BY MR. LESKO:



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1                Q    Is    this     statement        included         in    the
2          specification of this patent, Plaintiff's Exhibit
3          7?
4                A    Again, I can't give you a legal opinion,
5          but it appears to be on its face.                     Yes.
6                Q    So on its face, is this statement part
7          of the intrinsic record?
8                A    Again, it appears to be, but I can't
9          give you a legal opinion.               I mean, in general, I
10         don't think you're allowed to redefine the law in
11         the specification.           So to the extent that it
12         expresses the patentee's intent at the time, I
13         suppose it is.
14               Q    Well if I were asking you to review this
15         patent     and   construe         these      claims     or       decide
16         whether they're, you know, means plus function,
17         would you -- would that sentence seem relevant to
18         you or not?
19               A    Again, I'm only implying the law as I've
20         been instructed, but my understanding is that
21         under the current standards for 112 6, intent is
22         not a factor that I would consider.
23               Q    So because it, in your view, expresses
24         intent, you would just ignore it?
25                     MS.    WEISKOPF:             Object       to     form,



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1          mischaracterizes testimony.
2                       THE WITNESS:      It's not one of the
3          factors that under the explanation that I've been
4          given as to the current law with respect to means
5          plus function elements, intent is not one of the
6          factors that would be considered.
7                       MR. LESKO:     All right.            I'm marking some
8          other exhibits here.        Just give me one second.
9          Okay.      If you could, I just uploaded Plaintiff's
10         Exhibit 8.     Could you please open that, Dr.
11         Wolfe?     And once you have it open, can you sort
12         of skim through it and tell me, do you recognize
13         this document?
14                      (Whereupon,       the       above-referred         to
15         document was marked as Plaintiff's Exhibit No. 8
16         for identification.)
17                     THE WITNESS:      I looked at it.           There
18         were a lot of very similar documents in the file
19         history, so I don't recognize whether or not this
20         is a particular one or not.
21                      BY MR. LESKO:
22               Q    Okay.   Let's separately open Plaintiff's
23         Exhibit 1, and we'll go to Page -- PDF Page 16.
24               A    Okay.
25               Q    So Paragraph 46 says the application



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1          leading to the '761 patent was filed on November
2          24th, 2015.        On the same day, the claims were
3          amended as follows.         And then there are some
4          claims provided.         It looks like it was pulled
5          from the history.        And then there's a Paragraph
6          47 that has another excerpt from the remarks
7          underneath it.       And then that sort of ends on PDF
8          Page 36.     Do you see all that?
9                A    Yes.
10               Q    Okay,    so   now     let's      go      back   to
11         Plaintiff's Exhibit 8.           There's some amendments
12         to the claims on Page 4 through 9.                  There's some
13         -- and then on Pages 12 through 25, there's some
14         remarks.    And maybe another way -- easier way to
15         do this, there's a -- also a date on Page 11 that
16         says November 24th, 2015.             So looking at all
17         that, does that correspond to materials that are
18         cited on Page -- Pages 14 through 34 of your
19         declaration, Plaintiff's Exhibit 1?
20                     MS. WEISKOPF:          Object to form.
21                     THE WITNESS:         It appears to at the
22         moment.    I would have to compare them very, very
23         carefully to know for sure.
24                     MR. LESKO:        Okay.      Well, how about this?
25          I'll represent to you as well that this is the



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1          same office action that's -- you pulled excerpts
2          from       it.      Not     office       action,         I'm    sorry,
3          submission that you pulled excerpts from in your
4          declaration on those pages.                  So that's true,
5          you've seen this before, right? You've probably
6          seen the submission because you reviewed it and
7          then included it in your declaration?
8                        THE WITNESS:          Yes.     If that's the same
9          material that I included in my declaration then I
10         have reviewed it.
11                          BY MR. LESKO:
12               Q     Okay.      And so if you look at PDF Page
13         10, it says -- there's a paragraph third to last
14         that       says   in   addition.             Can        you    read   that
15         paragraph out loud for the record?
16               A     Sure.      In addition, applicant has taken
17         care to prepare the claims in a manner that does
18         not fall within 35 U.S.C.                 Section 112, Paragraph
19         6.    Specifically, applicant has undertaken to
20         draft      the    claims       in    a    manner        that    recites
21         structure, material, or acts in support of the
22         various operations.             Applicant requests that the
23         examiner inform applicant if he believes that any
24         claim      falls    within        35     U.S.C.          Section      112,
25         Paragraph 6, so that appropriate amendments can



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1          be made.
2                Q    Do you recall during your review seeing
3          this statement in the prosecution history that
4          you reviewed?
5                A    Yes.
6                Q    Okay.   So you've seen it before.             Do you
7          recall in your expert declaration, Plaintiff's
8          Exhibit 1, did you comment on this statement?
9                A    I don't believe so.         As I mentioned
10         before, the standard that I applied did not
11         include intent.     And also the claims that are
12         being referred to here are different claims than
13         the ones I opined on.
14               Q    So you're aware of this statement and
15         you -- but you didn't -- you had a reason why you
16         believed there was no need to comment on it.                  Is
17         that fair?
18               A    Yes.
19               Q    Now,    what     about        the      examiner's
20         understanding of the claims?             Would that be
21         relevant to your analysis of claim construction?
22               A    Might be something that I consider, but
23         again, my understanding of the standard is not
24         that the examiner gets to decide at this point in
25         time whether or not the claims are covered by



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1          Section 112, Paragraph 6, that -- that we need to
2          apply the standard to the claim language and to
3          the specification as it's written.
4                Q      Well, generally speaking, would you say
5          that comments by the applicant or comments by the
6          examiner form part of the intrinsic record in
7          reviewing claim language?
8                A      They do, but they need to be considered
9          appropriately with respect to the context and
10         content of the comments.
11               Q    So   there     are   instances          in    your
12         declaration       where   you     quote,      for       example,
13         comments made by the applicant in this case, CEV,
14         during prosecution.         Is that right?
15               A    Yes.
16               Q    And that's because you believed they
17         were relevant to the intrinsic evidence for how
18         they look at the claims.           Is that an accurate
19         statement?
20               A    In those cases, yes.
21               Q    But in this case, the statement that
22         these are not prepared in 112, 6 and the request
23         for    the    examiner    to    notify       applicant      if     he
24         disagrees, that wasn't relevant in your view?
25               A    It wasn't necessary to comment on it in



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1          order to provide the opinions in my declaration.
2           It doesn't change my opinion as to whether or
3          not these particular claims are covered by 112,
4          6.    It doesn't, in fact, create structure or
5          disclosure of structure in the specification.                    It
6          doesn't link any disclosures of structure to the
7          claimed functions.        So there was an overwhelming
8          number of factors to help me reach the conclusion
9          that these were -- the elements that I opined on
10         were 112, 6 elements, and that they were not
11         supported    in   the     specification           in    terms   of
12         structure, whether or not the applicant had
13         suggested that it was their intent in these other
14         claims to do it that way, or whether or not there
15         had been a request to the examiner.
16               Q    In your review of the file history, did
17         you see the examiner flag anything as means plus
18         function in any of the office actions for -- this
19         is    --   I'm   sorry,   this      is    the     application
20         corresponding to the '761 patent.                 So let me
21         start my question again.
22                     In your review of the '761 patent file
23         history, did you ever see any instances where the
24         examiner told CEV, the applicant, that he's
25         construing the claims as means plus function?



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1                A    I don't recall seeing him comment on
2          that issue one way or the other.                   And of course,
3          even if he had, he would be using a broadest
4          reasonable construction standard and not the
5          standard that we're using today.
6                Q    What's     the      difference           in   those
7          standards?
8                A    Again, I can't give you a legal opinion,
9          but a broadest reasonable construction standard
10         is generally broader than the plain meaning
11         standard that we that we are using in court or
12         the ordinary and customary meaning, I think, is
13         the -- in view of the specification, I think is
14         the language.       Again, I don't remember the exact
15         legal language, but I think it's in my report.
16               Q    Well, it's interesting you raise it.                So
17         how does that affect the means test function
18         determination here if we were looking at this
19         from a broadest reasonable construction?
20               A    I don't know if it does or not because I
21         haven't looked at it from a broadest reasonable
22         construction.       But if there had been any comments
23         from the examiner, which there weren't, I would
24         have had to take into account that he may have
25         been applying a different claim construction



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1          standard.
2                Q     If you could, Dr. Wolfe, please pull up
3          Plaintiff's Exhibit 9.
4                        (Whereupon,            the      above-referred              to
5          document was marked as Plaintiff's Exhibit No. 9
6          for identification.)
7                A     I don't have a Plaintiff's Exhibit 9.
8          Was that recently put in the folder?
9                Q     Can    you     try     refreshing           the    folder,
10         please?     It should be in there, but, you know,
11         sometimes there's technical issues.
12               A    Okay, I have it now.
13               Q    Thanks.          Okay,      so     here      in    the
14         Plaintiff's Exhibit 9 -- well, first of all, do
15         you recognize this document?
16               A    It appears to be a portion of the file
17         history.     But again they are very similar.                        I
18         can't      tell   you      exactly       which         portion    it     is
19         without comparing them page by page.
20               Q    So if you go to Page 9 of Plaintiff's
21         Exhibit 9, there's a date October 25th, 2019.                            Do
22         you see that?
23               A    I do.
24               Q    Okay.         So    now     if     you      go     back   to
25         Plaintiff's Exhibit 1 and PDF Page 50 -- I'm



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1          sorry, 60 of that document, there is a reference
2          to the same date, October 25th, 2019.                   And then
3          there's an excerpt from the file history that
4          goes from Page 60 to Page 63 of Plaintiff's
5          Exhibit 1.     Do you see that?
6                A    Yes.
7                Q    Okay.   And then actually on -- if you
8          could scroll up to Page 58 of the PDF.                  It says
9          in your Paragraph 54 -- I'm talking about Page 58
10         of Plaintiff's Exhibit 1.           It says in Paragraph
11         54 on Page 58 of Plaintiff's Exhibit 1, the
12         application leading to the '472 patent was filed
13         on October 25th, 2019.         The claims were amended
14         the same day to the following, and then there's a
15         footnote, Footnote 2.         Do you see that?
16               A    I don't see a footnote.           This is on Page
17         58 of the document?
18               Q    PDF, Page 58.
19               A    Oh, I'm sorry.
20               Q    That's okay.     I know it's confusing when
21         the page numbering differs.            So just a -- yeah,
22         58 of the PDF, not your declaration page number.
23               A    Okay.   I do see that.
24                      (Simultaneous speaking.)
25               Q    There's a Footnote 2 there, and it says



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1          original claims 21 through 22 issued as claims 1
2          to 2 of the '472 patent.           Original claims 25 to
3          26 issued as Claims 5 to 6 of the '472 patent.
4          Do you see the footnote?
5                A     Yes.
6                Q     Okay.   So here there's a filing on
7          October -- I'm referring to Plaintiff's Exhibit 1
8          now.       It refers to a filing on October 25th,
9          2019, where the claims that issued of the '472
10         patent were actually filed, and then if you
11         continue through Page 61 -- I'm sorry, Page --
12         PDF Page 63, there's the remarks that were filed
13         with those claims.        Do you agree with me?
14                       MS. WEISKOPF:       Objection to form.
15                       THE WITNESS:      I have included copies of
16         the claims that were filed and some of the
17         remarks that were filed with the claims.
18                       MR. LESKO:     Okay.      And if you look at
19         Plaintiff's Exhibit 9, Pages 4 through 6, those
20         are the -- I'll represent to you those are the
21         same claims that are copied into your declaration
22         that we just discussed.           And those remarks on
23         Pages 7 through 9 are the same that are copied
24         into your declaration that we just discussed.
25                       THE WITNESS:      Yes.



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1                           BY MR. LESKO:
2                Q     Okay.    So if that's true, then these are
3          -- this is the filing of the claims that led to
4          the same claims that issued in the '472 patent.
5          Do you agree?
6                A     It appears that way to me.
7                Q     Okay.    With this filing -- and frankly,
8          maybe it's easier just go to your -- go back to
9          Plaintiff's Exhibit 1, I'm sorry.                    On Page 63 --
10         I'm sorry, on Page -- let me withdraw my question
11         and start again.         Plaintiff's Exhibit 1, which is
12         your declaration, on Page 62, there's a final
13         paragraph there and then there's a sentence that
14         starts in addition.          Can you read that paragraph
15         at the bottom of PDF Page 62 of Plaintiff's
16         Exhibit 1?
17               A    Applicant believes that no new matter
18         has been added.        In addition, applicant has taken
19         care to prepare the claims in a manner that does
20         not fall within 35 U.S.C.              Section 112, Paragraph
21         6.    Specifically, applicant has undertaken to
22         draft      the    claims    in    a    manner        that   recites
23         structure, material, or acts in support of the
24         various operations.          Applicant requests that the
25         examiner inform applicant if he believes that any



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1          claim      falls   within    35    U.S.C.          Section       112,
2          Paragraph 6, so that appropriate amendments can
3          be made.
4                Q    All right, so based on your declaration,
5          Plaintiff's Exhibit 1, that statement you just
6          read to me was provided with the filing of the
7          claims that issued in the '472 patent.                    Would you
8          agree?
9                A    The statement was made by the applicant.
10               Q    And when it was made, the claims that
11         were pending are those that issued in the '472
12         patent.     Do you agree with that as well?
13               A    They    were.       I   disagree        with    the
14         statements made by the applicant, but I agree
15         that the applicant made those statements at the
16         time that those claims were presented.
17               Q    Okay.   And, again, in the '472 patent
18         file history, did you see any instance where the
19         examiner flagged any claim element as 35 U.S.C.
20         112 Paragraph 6, means plus function?
21               A    I didn't see him comment either way.                  I
22         think the examiner did a poor job in -- in
23         general here.      I think that if the examiner had
24         looked, they would have seen that new matter was
25         clearly added to this application, and if they



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1          had examined the claims carefully, they would
2          have seen that they were within 35 U.S.C.                       112,
3          Paragraph 6.       I didn't see any indication in the
4          file history that the examiner had considered the
5          issues in this paragraph at all.
6                Q    Did you see any indication in the file
7          history that the examiner believed any claim was
8          112, Paragraph 6.         Yes or no?
9                A    As I said, I didn't see any indication
10         that the examiner had considered the issue one
11         way or the other at all.
12               Q    I'll ask you again.           Did you see any
13         instance in the file history where the examiner
14         flagged    any    claim    as     being      subject      to     112
15         Paragraph 6 for the '472 patent?
16                     MS. WEISKOPF:         Objection, asked and
17         answered.
18                     THE    WITNESS:          I    did      not    see    any
19         indication in the file history that the examiner
20         had considered the question of 35 U.S.C.                   112,
21         Paragraph 6, at all.
22                     MR.    LESKO:         Did     you      see    any    112
23         rejections    in    the    file      history       of     the    '472
24         patent?
25                     MS. WEISKOPF:         Objection, asked and



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1          answered.
2                      MR. LESKO:     No, different question.            Did
3          you see any 112 rejections in the file history of
4          the '472 patent, sir?
5                      MS. WEISKOPF:      Same objection.
6                      THE WITNESS:     Again, I don't want to
7          give you a legal opinion here.            I did see the
8          examiner object that certain things were not
9          supported by the specification.            That was always
10         part of a list of reasons for rejecting claims.
11         So I haven't really considered whether or not
12         that was the only reason for a rejection or one
13         among many reasons for rejection.
14                     MR. LESKO:    Did you see any rejections
15         that cited -- let's just put it this way.               I'm
16         not asking for a legal opinion.            Did you see any
17         rejections in the file history of the '472 patent
18         that referred to Section 112, 35 U.S.C.               Section
19         112?
20                     THE WITNESS:     I don't recall seeing that
21         by name, but as I said, I recall comments through
22         the complete history of this family of patents in
23         which claims were requested, and the examiner
24         responded by saying that certain elements of the
25         claims were not supported in the specification.



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1          That in my mind that is within paragraph -- or
2          within Section 112, but I don't think that they
3          were phrased that way by the examiner.
4                       BY MR. LESKO:
5                Q    Okay.   So let's just go to Page 175 of
6          Exhibit -- Plaintiff's Exhibit 1 which is your
7          declaration.       PDF Page 175.        And there's a
8          paragraph there, Paragraph 19 says -- 92 that
9          says specifically, the examiner rejected the
10         claims under Section 112.            Do you see that?
11               A    Yes.
12               Q    So do your -- based on that statement,
13         now, maybe this helps you remember, did you see
14         in the file history of the '472 patent that the
15         examiner rejected the claims that eventually
16         issued in the '472 patent under Section 112 at
17         one point in time?
18               A    This was one of the rejections I was
19         referring     to     before,         where         it    was   my
20         understanding in reading the examiner's remarks
21         that he did not believe that there was sufficient
22         support and specification for what at the time
23         was a claim element.
24               Q    Okay.   And so you would agree the
25         examiner considered 112 issues in examining the



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1          U.S. Patent -- the '472 patent?
2                       MS. WEISKOPF:           Object to form, vague.
3                       THE WITNESS:          In at least this one case
4          he did consider a 112 issue.
5                       MR. LESKO:         But there was no means plus
6          function assertion by the examiner that you're
7          aware of?
8                       THE WITNESS:          I'm not aware of any
9          discussion one way or the other about means plus
10         function terms in the claims for the '472 in the
11         examiner's file history.
12                      BY MR. LESKO:
13               Q    Okay.        Sorry,       I'm     marking        another
14         exhibit here.      Okay.        You should see in the
15         folder now Plaintiff's Exhibit 10.
16                     (Whereupon,            the       above-referred           to
17         document was marked as Plaintiff's Exhibit No. 10
18         for identification.)
19               A    Okay.
20               Q    Were you able to open that, Dr. Wolfe?
21               A    Yes.
22               Q    Okay, great.         Do you recognize this
23         document?
24               A    This    is     a   patent       where      I'm    named
25         inventor.



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1                Q     Okay.   And in this case, you're the only
2          named inventor.        Is that right?
3                A     Correct.
4                Q     Okay.   Can you scroll down to Page 7 of
5          this document, and then this is actually on Pages
6          7 and 8.      Can you take a look at Figures 7B and
7          7C.       Take your time there.         Read those over to
8          yourself, please.
9                A     Okay.
10               Q     Okay.   Can you describe what's there in
11         Figure 7B and 7C?
12               A     I think, again, I haven't looked at this
13         patent in 15 years or so, but just quickly
14         looking at just those pages, it appears to be an
15         exemplary algorithm for performing some of the
16         functions disclosed in the patent specification.
17               Q     Would   you     agree      also     that       it's   an
18         example of program code as well?
19               A     It's not program code.             It's perhaps
20         pseudocode.         It's     intended        to      express      an
21         algorithm or a set of steps.                I guess it is
22         described as exemplary program code, but it's not
23         actual program code.           It's not in an actual
24         programming language.            It's exemplary.
25               Q     Okay.   But a programmer reading this



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1          would      understand   how    to    write        this   type       of
2          program, do you think?
3                A    This would disclose an algorithm to a
4          programmer that they could then implement in a
5          system.
6                Q    So the date on this patent is 2014.                  I
7          understand there's some differences here, but if
8          we're talking October of 2005 instead, let's just
9          hypothetically say this same code was in this
10         patent and the patent was dated October of 2005.
11          Would you still agree that this discloses an
12         algorithm for a programmer?
13                      MS. WEISKOPF:       Objection, vague.
14                      THE WITNESS:      Well, in the first place,
15         I think that the date of relevance would be March
16         9th, 2009 when this was filed, not when it was
17         issued.     But this is -- in 2005, this would have
18         been a disclosure of an algorithm.                If one were
19         to evaluate this patent, they would still have to
20         determine whether it's a sufficient disclosure,
21         whether it discloses enough of an algorithm to
22         support     the   claims,     whether       or    not    it's
23         sufficient to enable a person of ordinary skill
24         to implement.     I haven't done that level of a
25         detailed analysis.



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1                       MR. LESKO:        Right.       I just would -- I
2          guess I would say this type of code would have
3          been available in 2005 as well? Is there any
4          difference between this code and -- you know,
5          this algorithm in 2005 versus 2009?
6                       THE WITNESS:         Yeah, I hadn't invented
7          this algorithm in 2005.             That's why I got an
8          issued patent later for inventing it.
9                       BY MR. LESKO:
10               Q    How about the format of the algorithm,
11         though, this if, you know, parentheses, traffic
12         lane equals equals non HOV, and then --
13                      (Simultaneous speaking.)
14                Q   -- under that.           Is that format, you
15         know, a new format in 2009?
16               A    No,   no,     I   mean,      the     words,     the
17         punctuation were known, but the content of the
18         algorithm, the sequence of steps, the specificity
19         of the steps.      That's the algorithm; that's the
20         inventive step.        And, again, I'm not making a
21         judgment    here   today         whether       or    not   this    is
22         sufficient for the claims in this patent.                    But
23         just the form of an algorithm is never sufficient
24         to express an algorithm.             You need its actual
25         content as well.



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1                Q    Right.    Okay.      So this -- let me just
2          ask you, not the specifics of this particular
3          algorithm.       Is there a name for this format of an
4          algorithm?         These    if     statements,            else,   if
5          statements, is there a common name that maybe a
6          skilled artisan would use to describe those types
7          of statements?
8                          MS. WEISKOPF:      Object to form.
9                          THE WITNESS:     If someone described this
10         as pseudocode, P-S-E-U-D-O code,                    I think a
11         person     of    ordinary     skill      would       generally
12         understand what they're talking about.                     But,
13         again, that's like saying a paragraph is made of
14         words.     It doesn't tell you what that paragraph
15         expresses.
16                     MR. LESKO:        Well, like an if statement -
17         - let me ask you first, maybe I'll establish a
18         little bit of foundation here.                Do you have some
19         understanding of coding?
20                     THE WITNESS:         I have a very detailed
21         understanding of coding.
22                      BY MR. LESKO:
23                Q   You have a very detailed understanding
24         of    coding.       Okay,     great.          If     --    this   if
25         statement, right, and then there's some lines



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1          underneath       it.      Based      on     your      detailed      of
2          understanding       of    coding,       like         what   type    of
3          statement is that to a coder?
4                A     It is a conditional statement.                  But,
5          again, that's pretty meaningless in terms of
6          understanding the content.              It's like saying that
7          a paragraph includes verbs and nouns.                       It doesn't
8          tell you what the paragraph's expressing.                      It's
9          the actual words, the order that they're used,
10         and the specific way that they're formatted that
11         would express the algorithm.
12               Q    So if else or maybe if then, you agree
13         those      are   called     conditional         statements         in
14         programming?
15               A    It depends how they're used.                 But that
16         that would be common, yes.
17               Q    Why    are       they       called         conditional
18         statements?
19               A    Because under some conditions you would
20         do one thing and under other -- sorry.                      Under
21         some conditions you would do one thing, and under
22         other conditions you would do something else, as
23         a general concept.
24               Q    And that general concept, just focus on
25         that.      I'm on the same page as you.                That general



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1          concept did exist as of 2005 in coding.                 Do you
2          agree?
3                        MS. WEISKOPF:      Objection, vague.
4                        THE WITNESS:     The general concept of
5          using conditionals existed.            But, again, that's
6          like saying the general concept of using verbs in
7          sentences.     It doesn't tell you anything about
8          what's actually being expressed.
9                        MR. LESKO:    Yeah, I understand you need
10         to know what the conditions are, but conditional
11         programming was available and known to coders in
12         2005.      Is that right?
13                      THE WITNESS:      It was available as a
14         building block.     But, again, the mere existence
15         doesn't tell you anything.           It depends on what
16         the conditions are, what happens under each
17         condition, and the overall structure of them.
18         Simply the existence of a condition or one simple
19         condition may not be enough to be an algorithm,
20         and    may   not   be   sufficient        to      describe   any
21         particular function at all.            You have to look at
22         the totality.
23                      MR. LESKO:     So if I wanted to program
24         something to happen based on a condition, could I
25         use this type of code --



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1                       MS. WEISKOPF:       Objection, vague.
2                       MR. LESKO:     -- as of 2005?
3                       THE WITNESS:      If you had a complete and
4          sufficient description of the entirety of the
5          algorithm     in   order    to    perform         a   specific
6          function, then you could turn that into code.
7                       MR. LESKO:     Right.       Well, like in this
8          instance, for example, if I want to check time of
9          query, I'm just looking at, you know, Exhibit --
10         what are we on, Exhibit 10.            So in Exhibit 10 in
11         your patent there's an item that says check time
12         of query.    So then it says if traffic lane equals
13         equals non-HOV, check time of query.                  So is non-
14         HOV the condition in that statement?
15                     THE WITNESS:       It is a partial condition
16         in a portion of the statement that describes a
17         portion of the algorithm.           In and of itself, it's
18         not the algorithm.       The algorithm is the entirety
19         of the description of functionality.
20                      BY MR. LESKO:
21               Q    I understand that.        So traffic lane
22         equals equals non-HOV, is that a condition in
23         this code?    Just one of the conditions in this
24         code, maybe that's a better way.
25               A    That is one condition in this code.                It



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1          is a tiny part of this algorithm.
2                Q    And what would be returned from, let's
3          say in the item -- and it doesn't really matter
4          what the specifics of this patent are, but let's
5          just use this as an example.             Let's say traffic
6          lane equals equals non-HOV.            That's the case.
7          What would be sort of returned in the code then?
8                A    Well, again it depends on a lot of other
9          things, the entirety of the algorithm.                 But if
10         you look at it only at that locality then that
11         condition, traffic lane is equal to non-HOV,
12         would be either true or false.
13               Q    Okay.   And then if true what happens
14         according to this particular example?
15               A    If true in this particular example, if
16         traffic lane was equal to non-HOV, you would
17         proceed through a sequence, in order, of eight
18         additional steps.      Then you would test another
19         condition.    Depending on the result of that
20         condition, you might perform a ninth step.                  If
21         that condition is not true, then you would check
22         another    condition,     in     which      case   you    might
23         perform an alternative ninth step.                And in that
24         one particular case, which, again, is only a
25         portion of the algorithm, that's what you would



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1          do.       That portion is likely not sufficient enough
2          to support the claims in this patent.                       You
3          probably need the remainder of the algorithm as
4          well.
5                Q     Okay.     But it -- and that's helpful.
6          But generally speaking then an if statement, like
7          the first one here, that returns true or false,
8          and       then    what    happens      next      depends     on    the
9          remainder of the code.              Would you agree with
10         that?
11                          MS. WEISKOPF:        Objection, vague.
12                          THE WITNESS:       In a very general sense,
13         that's true.        Again, you know, the remainder of
14         the code could express thousands or millions of
15         different algorithms.              So you don't know much at
16         all from that kind of a high level description.
17                          MR. LESKO:      So if traffic lane equals
18         equals non-HOV here in Plaintiff's Exhibit 10
19         corresponds to a condition?
20                          THE WITNESS:       It is a test of a very
21         specific condition that is a small portion of an
22         algorithm.
23                          BY MR. LESKO:
24               Q     And the result of that test is true or
25         false here?



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1                 A     I don't know that I'd --
2                         MS. WEISKOPF:       Objection --
3                         (Simultaneous speaking.)
4                         THE WITNESS:      One result is that you
5          would evaluate that to be true or false, but in
6          context of the entire algorithm, the result is
7          that you proceed with another sequence of eight
8          to ten steps.
9                        MR. LESKO:     Right.      So just looking at
10         that       first   step   here     on    this       page,     the    if
11         parentheses traffic lane equals equals non-HOV
12         end parenthesis.          The result of that -- that
13         initial step is a true or false?
14                      THE WITNESS:       No, I think that would be
15         a mischaracterization.           The result is that the
16         evaluation of true or false guides you to which
17         additional steps to take in the algorithm.                      So
18         you may go through one set of eight to ten steps,
19         or you may go through another set of eight to ten
20         steps, or you may go through a third one.                      So
21         there's lots of -- the algorithm is much more
22         complicated than that, and the results are much
23         more complicated than that.              I don't think it's
24         fair to look at just a single value and call that
25         the result.



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1                       MR. LESKO:    So the code here is a series
2          of true or falses and then other steps that are
3          taken as a result of the true or false, right?
4                       MS.      WEISKOPF:                       Objection,
5          mischaracterizes testimony.
6                       THE WITNESS:     The overall algorithm here
7          consists of evaluating a number of conditions.
8          Those evaluations will result in a value of true
9          or false, and then the algorithm describes a
10         sequence of eight to ten steps that would be
11         taken under each of at least four different --
12         well, maybe more, 4, 5, 6, 7, 8, 9, 10, 11, 12,
13         13, 14 different combinations of conditional
14         evaluations.
15                     MR. LESKO:     I'm marking Plaintiff's
16         Exhibit 11.    Just bear with me.           Okay.     Dr.
17         Wolfe, can you pull up Plaintiff's Exhibit 11
18         please from --
19                     (Whereupon,       the       above-referred        to
20         document was marked as Plaintiff's Exhibit No. 11
21         for identification.)
22                      THE WITNESS:     Yes.
23                      BY MR. LESKO:
24               Q    So I'd ask, have you ever seen this
25         before?



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1                 A     No, I am not familiar with JavaScript.
2                 Q     Okay.    There's a statement here about
3          conditional statements, pages one and two.                        Can
4          you read pages one and two of Plaintiff's Exhibit
5          11 to yourself?
6                 A     Okay.
7                 Q     Do you agree generally with what stated
8          here on pages one and two that you just read to
9          yourself about conditional statements?
10                          MS. WEISKOPF:        Objection, vague.
11                          THE WITNESS:       I don't know.            I don't
12         know JavaScript.
13                          MS. WEISKOPF:        Can I also just put on
14         the record that doesn't seem to be a date on this
15         document.         Is that right?
16                          THE WITNESS:       The last page has a
17         copyright 1999 to 2025.
18                          MR. LESKO:      Yeah, I see that.            Let's
19         just make this simpler.               It says here, very often
20         when       you   write     code,      you     want     to    perform
21         different actions for different decisions.                        You
22         can use conditional statements in your code to do
23         this.      Do you agree with that statement, Dr.
24         Wolfe?
25                          THE WITNESS:       It depends what you're



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1          coding language is.         But in some coding languages
2          that is true sometimes.
3                       BY MR. LESKO:
4                Q    But setting aside the date, as of 2005,
5          can you use conditional statements in your code
6          to    perform     different      actions         for   different
7          decisions?
8                A    It     depends       on      your        development
9          environment, but in some you could.                    Again, that
10         doesn't tell you what conditions to test or what
11         steps to take.        It doesn't provide you with an
12         algorithm,      but    as   a    very      low      underlying
13         technique, it was available.
14               Q    Would it have been known to your sort of
15         definition of a skilled artisan in 2005 to use
16         conditional statements in programming for that
17         purpose?
18               A    Yes.   But again, it needs to be put into
19         context.    It would be in the same way that it
20         would be known that a pen can be used for writing
21         poetry.    It doesn't help you understand the
22         content of the poetry or what the poem should be.
23               Q    So I'm marking here Plaintiff's Exhibit
24         12.    And Dr. Wolfe, let me know if you're getting
25         hungry for lunch, too.           I'm fine either way.



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1                         (Whereupon,        the       above-referred          to
2          document was marked as Plaintiff's Exhibit No. 12
3          for identification.)
4                 A     Yeah, we should stop reasonably soon,
5          but I don't have 12 yet.
6                 Q     Okay.    It should be there now, I think.
7                 A     Yep.    It's downloading now.
8                 Q     Great.    Thanks.
9                 A     Okay.
10               Q     Okay.     Do you recognize Plaintiff's
11         Exhibit 12?
12               A     Yes.     I haven't read it in more than a
13         decade, but that is a patent on which I am a
14         named inventor.
15               Q     Okay.     Column four of this patent --
16         actually, let's look at Columns two and three.
17         Columns two and three say, at the very bottom of
18         Column 2.      The very last sentence, Column 2, Line
19         66, then it continues to Column 3, Line 4.                    Can
20         you read that to me?
21               A     Sure.     In some examples the data may be
22         sent from the backing storage to the cache in
23         encrypted form only if certain conditions are
24         met.       For example, the data can be encrypted if
25         the data are stored in encrypted form in the



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1          backing     storage,    or     if    there         is    some     other
2          indication that the data should be encrypted
3          before being sent.
4                Q    Thank you, Dr. Wolfe.            If you look at
5          that, let's focus on Column 3, Lines 2 and 3 says
6          the data can be encrypted if the data are stored
7          in encrypted form in the backing storage.                        Does
8          that statement provide an algorithm for the data
9          can be encrypted?
10               A    On its own, no, I don't think so.
11         There's much more detail in this patent.                        There's
12         flowcharts, and even then, I don't know for
13         certain    whether     or    not     there's        sufficient
14         disclosure of an algorithm.             I just haven't
15         considered --
16               Q    I'm not asking about supportable claims.
17          Not at all.     Let's just focus on the specific
18         issue.     It said the data can be encrypted if data
19         is    stored   in   encrypted        form     in        the     backing
20         storage.    And I said, what's the algorithm using
21         just that excerpt for the data can be encrypted.
22          Is there an algorithm there for how the data can
23         be encrypted.
24                     MS. WEISKOPF:         Objection to form.
25                     THE WITNESS:        I don't know if there's a



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1          legal rule here, but in my ordinary business as
2          an engineer, I can't imagine describing that as
3          an algorithm.        It's simply a fragment of a
4          sentence        describing     one    characteristic          of   a
5          system.
6                          MR. LESKO:     Well, for example, if you
7          read this, would you understand it to mean if
8          data equals encrypted form and backing storage,
9          data       is   encrypted.       Can     you        read   that    or
10         understand that from reading that?
11                         THE WITNESS:     You could.          Of course here
12         we have the advantage that there's a flowchart in
13         Figure 3 that actually puts forward the steps.
14         There's more description later.                I wouldn't
15         normally take that sentence alone and consider it
16         to be an algorithm.
17                         BY MR. LESKO:
18               Q     If it's an algorithm just for data can
19         be encrypted, though it's a simple -- would you
20         say it's a simple algorithm for that specific
21         purpose?
22               A     No, it doesn't tell you how to encrypt
23         anything.
24               Q     Does it tell you the answer to encrypt,
25         yes or no?



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1                A     Under some circumstances it could, and
2          then you would have to consider whether or not
3          that's sufficient for any particular function.
4          But again, I would not normally call that an
5          algorithm in the way that I would normally define
6          an algorithm, but it would depend on the context.
7                Q     Right.       And the context is I want to
8          know the answer whether data should be encrypted.
9           And       so    I    write   a    program        that    says,     if
10         parentheses data equals encrypted form in the
11         backing storage closed parentheses.                      And go to
12         the next line.          Data is encrypted.             Just for
13         that, is that enough disclosure to understand
14         that's the corresponding program?
15               A     I    suppose      that      if     you     define    your
16         function narrowly and trivially enough, it could
17         be.        But       certainly     in    the      context     of    this
18         specification, it's not an algorithm.
19               Q     Well, it's not an algorithm for an
20         entire claim element.              I'm not asking you to
21         review the claims in this, but it is an algorithm
22         for that specific function, right?
23                         MS. WEISKOPF:         Object to form.
24                         THE WITNESS:        I mean, in in the real
25         world, it would almost always be a step in an



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1          algorithm, not an algorithm in and of itself.
2          But if you defined your entire world as being
3          that one step, then then maybe it could.
4                         MR. LESKO:    Maybe or yes it could?
5                         MS. WEISKOPF:      Object to form.
6                         THE WITNESS:     You would have to consider
7          it in terms of what you're trying to accomplish.
8           Again, if all you're trying to accomplish is
9          exactly what those words say and nothing more
10         than I suppose it could be an algorithm.
11                       MR. LESKO:     Would your answer be the
12         same if we were talking about 2005 instead of
13         2009?
14                       MS. WEISKOPF:       Object to form, vague.
15                       THE   WITNESS:         Yes.          With   all    the
16         limitations that I provided before.
17                       MR. LESKO:     Okay.      So I'm marking
18         another document as Plaintiff's Exhibit 13.                     You
19         have       Plaintiff's   Exhibit      13.          Do   you   have
20         Plaintiff's Exhibit 13 now in your folder, Dr.
21         Wolfe?
22                       (Whereupon,       the       above-referred          to
23         document was marked as Plaintiff's Exhibit No. 13
24         for identification.)
25                       THE WITNESS:      I see it, let me download



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1          it.       Okay.
2                        BY MR. LESKO:
3                Q     Do you recognize this document?
4                A     Well not really, but it appears to be a
5          declaration that I prepared about five years ago.
6           I definitely recognize some of the content.
7                Q     Okay, I think that's right.              If you'd
8          like to maybe scroll down to Page 117, the last
9          page.      Do you see your signature on that page.
10               A     Yes.
11               Q     Does it look like a declaration you
12         submitted and signed on December 5th, 2019.
13               A     Yes.
14               Q     Okay.   There is a section, starting on
15         PDF Page 18.        Well, before I even ask you this,
16         I'm sorry.        Withdraw the question.            But you can
17         turn to Page 18.        I'm looking at your CV, and it
18         seems like you clearly have a deep understanding
19         of touch sensitive display technology.                   Do you
20         agree with that?
21               A     Yes.
22               Q     Okay.   So touchscreens, touch sensitive
23         displays, touch sensing on a display.                    So it
24         seems to me reading your CV, that's an area where
25         you have significant experience and expertise



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1          based on what was presented.
2                A     I think that's accurate.
3                Q     And so, if you look at this Page 18, you
4          go through starting in Paragraph 36, there are --
5          actually probably all the way through – it goes
6          on for a while.           All the way through Paragraph
7          53,       you    have    a    background        of      touch     sensing
8          technology, right?
9                A     Yes.        That may have been more than the
10         Patent Office needed to know.
11               Q     I suspect, though, you believe what's in
12         here, I'm sure you believe all this is true and
13         accurate, right?
14               A     I do.
15               Q         Okay.        And    it's     based      on   your
16         significant experience in that field, is that
17         right?
18               A     Yes.
19               Q     Okay.       So you reference here, PDF Page
20         18.    At the beginning of this section, you refer
21         to measurement and decision algorithms.                         Take a
22         minute to look at that.                There's a sentence
23         there.      It starts, in addition, innovations have
24         been introduced in sensing circuitry measurement
25         and decision algorithms and detection of motions



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1          and gestures.        If you read that sentence and kind
2          of read the surrounding context, can you tell me
3          what you're talking about in that section -- in
4          that sentence, I should say, is more accurate?
5                A    So   in   general,       an     algorithm        is    a
6          detailed description of a process where you
7          describe the steps to be taken, the sequence of
8          steps, the conditions under which certain steps
9          should be performed, and the data that should be
10         evaluated in performing those steps and the
11         results that should be provided.                    And over the
12         years,     people    have     developed        a     number      of
13         algorithms for measurement of touch data, for
14         processing of that data to improve its quality
15         and for making decisions based on that data.                       So,
16         for example, whether you've tapped on the screen
17         or    whether   or    not     you're       trying      to     draw    a
18         straight line, and both in the patent art and in
19         the non-patent literature, people have described
20         many of those algorithms in substantial detail.
21               Q    So as of October of 2005, those type of
22         touch algorithms, they were around, is that
23         right?
24               A    Some were, there have been some very
25         substantial improvements since then.                   I think



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1          Apple in particular would contend that they made
2          great improvements in some of those algorithms
3          with the introduction of the iPad and the iPhone.
4                Q    But    certainly       in    2005,         algorithms
5          existed to figure out where a user is touching a
6          touch screen.      Would you agree with that?
7                A    Those algorithms did exist.                  There were
8          many different kinds.            Some were suitable for
9          some things, others were suitable for other
10         things.
11               Q    Like   an     algorithm        for        saying,    for
12         example, there's an option displayed on a touch
13         screen, and I want to know if a user touched that
14         option or didn't touch it.              Did an algorithm
15         exist in prior art for that specific task?
16               A    I don't know that there was one for that
17         specific task.      I mean, there was there was
18         enough description of algorithms that a person of
19         ordinary skill could have created an algorithm to
20         select a specific item, but it would depend on
21         what the item is, what its shape is, what its
22         size is, how long you wanted the person to touch
23         it before you recognize their touch.                    So you'd
24         need to consider a number of factors in order to
25         choose the appropriate algorithm or construct the



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1          appropriate algorithm.
2                Q     So I can select a menu option on a
3          screen.         I    realize     you    could        construct     an
4          algorithm, but let's say if I wanted to select
5          from       an   existing     algorithm,        per    se,     I've
6          displayed a button on my screen, did the user
7          select it or not select it? Was that existing
8          algorithm there and available as of 2005?
9                A     There     were   a    number       of    existing
10         algorithms.         Depending on the specifics, you
11         would have to choose one.              Is that button square?
12          Is that button oval?            Is that button round?             Is
13         it large?       Is it small?        Will somebody die if you
14         pick the wrong button?            So, if somebody just
15         pokes at something, do you want to recognize
16         that?      So there were a number of algorithms and
17         depending on the requirements of the specific
18         situation, a person of ordinary skill could
19         choose one.
20               Q     Yeah, what if the requirement was very
21         basic, like was there a touch or not a touch.
22         Was that algorithm out there and available.                       So I
23         don't -- it doesn't really matter to me how long
24         just impressed the shape of it really doesn't
25         seem that relevant.          Let's say doesn't matter.



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1          But I wanted to say did you touch the option or
2          not touch it?    Was that an algorithm that existed
3          in the prior art?
4                     MS. WEISKOPF:       Object to form.
5                     THE WITNESS:      I don't think so.            Not
6          without regard to the shape, because otherwise I
7          don't know how you would determine whether you
8          touch something or you touched outside of it.                    I
9          guess there was an existing algorithm of did you
10         touch the screen at all? But if you wanted to
11         select a particular object, then I think you need
12         some information about the nature of that object
13         to select an algorithm.
14                    MR.   LESKO:        But     there's        multiple
15         algorithms available for different objects on a
16         screen at that time in 2005.           So there was an
17         algorithm probably for did you touch a circular
18         object? There's probably an algorithm for did you
19         touch a word? There's probably an algorithm for
20         did you touch a square.        Would you agree with
21         that?
22                    MS. WEISKOPF:       Object to form.
23                    THE WITNESS:      I think those all probably
24         existed.   But again, the challenge would be
25         choosing the right one.



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1                       MR. LESKO:       So I'm putting in the folder
2          Plaintiff's Exhibit 14.           Are you able to access
3          this item?
4                       (Whereupon,        the       above-referred          to
5          document was marked as Plaintiff's Exhibit No. 14
6          for identification.)
7                       THE WITNESS:       Hasn't refreshed yet?
8          Give me a second.
9                       BY MR. LESKO:
10                Q    Sure.
11               A    I think we got it.         Okay.        I have it.
12               Q    Okay, do you recognize that document?
13               A    Yes.
14               Q    What is it?
15               A    This is a patent application that I
16         filed in 2009 that has been issued as a patent.
17               Q    Okay, and so what we're looking at,
18         though, just to clarify, in Plaintiff's Exhibit
19         14 is the issued patent, do you agree?
20               A    It is.
21               Q    So let's just scroll down to Column 1,
22         really underneath the heading background, the
23         very first sentence.         Can you read that sentence
24         out loud?
25               A    Touch    screens     are     widely      used    for



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1          inputting      data    in   a    variety       of   electronic
2          devices,      including     handheld        devices      such    as
3          mobile phones and cameras.
4                Q     Do you agree with that statement as of
5          the filing date for this patent application that
6          led to this patent?
7                A     Yes.
8                Q     Okay.   So let's go back to October in
9          2005.      Would that statement also be true?
10               A     Probably not.
11               Q    What would be different in 2005?
12               A    I don't think it was widely used in
13         either mobile phones or cameras in 2005.
14               Q    So have you kind of amended this to say
15         touch screens are used for inputting data in a
16         variety of electronic devices, including handheld
17         devices such as mobile phones and cameras.                   You
18         amended it to say that in 2005.                Would that be
19         accurate?
20               A     I think it would.
21               Q     You said it would?
22               A     Yes.
23               Q    Okay.    I'm sorry, you cut out for a
24         minute there.       Sorry, I lost my place here.                Oh,
25         okay.      There's another statement here in this



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1          Column 1 of Plaintiff's Exhibit 14.                    It's the
2          last sentence in this background section.                        It
3          starts with the word rather.                Can you read that
4          sentence out loud?
5                 A     Rather by touching the touch screen, a
6          change is sensed in the touch screen panel and a
7          touch screen controller couples the sensor to a
8          driver and/or computer processing unit, CPU, and
9          translates information from the touch sensor into
10         data usable by the driver CPU.
11               Q     What does that mean?
12               A     That means that in prior art touch
13         screens, there would be a touch screen controller
14         which would measure signals from a touch screen
15         sensor and generally inform a CPU about those
16         signals by translating the measurements into a
17         more usable form that the CPU could interpret.
18         Typically where and when the touch had occurred.
19               Q     What format was it translated to for the
20         CPU?
21               A     It   would      vary.       Typically         some
22         descriptive message.           That would say something
23         like       there's   been    a    new     touch      at     this      X
24         coordinate and this Y coordinate.
25               Q     Now,     that   statement        we      were   just



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1          discussing those starts with the word rather and
2          ends with the word CPU in Plaintiff's Exhibit 14,
3          was that statement true in October 2005?
4                A    I believe so.
5                Q    I think you refer here to the prior art,
6          right?     I realize we're talking 2009.                So prior
7          art in 2005.       This statement that starts with
8          rather, ends with CPU in Plaintiff's Exhibit 14
9          still applies to that prior art.                   Is that right?
10               A    In general, yes.
11                     MS. WEISKOPF:         Objection.
12                     MR. LESKO:       Would the prior art touch
13         screens    have    algorithms        for     handling       that
14         translation    that's      discussed         here     and    also
15         referred here in Plaintiff's Exhibit 14?
16                     THE    WITNESS:          They     would.         Those
17         algorithms would differ from system to system and
18         sensor to sensor.       But they would use algorithms.
19          And in fact, in this patent Figure 6B describes
20         an algorithm for this particular touch screen.
21                     BY MR. LESKO:
22               Q    Okay.   Where did you say there's an
23         algorithm for this particular touch screen?
24               A    Figure 6B.
25               Q    Figure 6B.



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1                A    Yeah.
2                Q    So that's an algorithm for translating
3          touches to the CPU in this particular system in
4          6b?
5                A    No, this is an algorithm for sensing.
6                Q    Okay.
7                A    And      it's   only     a   portion        of   the
8          description of the algorithm.
9                Q    So 6b is part of an algorithm for touch
10         sensing used in the system described in this
11         Plaintiff's Exhibit 14?
12               A    It's a portion of the description of an
13         algorithm for sensing.
14               Q    Okay.     So this patent gets into some
15         maybe new algorithms for sensing.                    But based on
16         the background here, what we just discussed,
17         existing algorithms for sensing did exist.                      Do
18         you agree?
19               A    For different kinds of touch screens
20         than this one, they did.
21               Q    And then algorithms existed for quote
22         translating information from a touch sensor into
23         data usable by the driver/CPU.                 Do you agree?
24               A    A   variety      of    algorithms         did    exist,
25         depending      on    the    particular         structure       and



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1          configuration of the touch screen.
2                Q    And that was the case in 2005, those
3          algorithms are available?
4                A    For touch screens that existed in 2005,
5          they included algorithms that would format the
6          data and present it to a host computer or a main
7          CPU.
8                       MR. LESKO:    Would you like to take a
9          lunch break now or would you like to keep going,
10         Dr. Wolfe?    I'm just trying to be polite.
11                     THE WITNESS:      No, we can take a lunch
12         break now.
13                     MR. LESKO:     Okay.      That works for me.
14                     MS. WEISKOPF:       How long?
15                     MR. LESKO:     Let's go off the record if
16         you could, Eric.
17                     COURT REPORTER:        Yes, we're off the
18         record at 12:29 p.m.
19                     (Whereupon, the above-entitled matter
20         went off the record at 12:29 p.m. and resumed at
21         1:19 p.m.)
22                     COURT REPORTER:        We're back on the
23         record at 1:19 p.m.
24                     MR.   LESKO:        Okay,      Dr.   Wolfe,     I've
25         uploaded the exhibits folder Plaintiff's Exhibit



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1          15.       Could you open that, please?              Oh, I'm sorry.
2           Before we get to that, during the break, did you
3          talk to Counsel at all?            Ms. Weiskopf?
4                        THE WITNESS:       No.
5                        MR. LESKO:      You did not talk?
6                        THE WITNESS:       I did not talk to Ms.
7          Weiskopf during the break.
8                        MR. LESKO:      Okay, not on the chat or
9          anything either.        Just not at all?
10                       THE WITNESS:       I did not communicate with
11         her in any way outside of what you see on the
12         record.
13                       BY MR. LESKO:
14                Q     Okay.   Thanks.       So back to Plaintiff's
15         Exhibit 15, please.         Is that open on your screen?
16                           (Whereupon,      the     above-referred        to
17         document was marked as Plaintiff's Exhibit No. 15
18         for identification.)
19                A     Not yet.    But it's coming.
20                Q     Have you ever seen this document before?
21               A     No.
22               Q     Did you say yes or no?
23               A     No.
24               Q     Oh, okay.    Okay so, if you could just
25         read the first two sentences there.                  It says, an



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1          if statement is a fundamental control structure.
2           Can you start there, please?
3                A    Sure.   An if statement is a fundamental
4          control structure in programming languages that
5          allows you to execute specific code blocks based
6          on whether a condition is true or false.                 It is
7          used to make decisions and control the flow of
8          execution in your program.
9                Q    Thank you.    Do you agree with that
10         statement?
11                     MS. WEISKOPF:        Object to form, vague.
12                     THE WITNESS:       The statement is vague.
13         It would be true for some programming languages.
14          But not for others.
15                     MR. LESKO:      So what's an example of a
16         programming language where an if statement means
17         something different?        From what's --
18                     THE WITNESS:       Programming languages that
19         don't have if statements.
20                      BY MR. LESKO:
21               Q    Okay.   So there's a programming language
22         that doesn't have an if statement specifically.
23         What's an example of that?
24               A    Certainly true in assembly language.               I
25         believe it's true in Lisp, but it's been a couple



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1          decades since I programmed in Lisp.              Again, I
2          don't know every programming language, but it's
3          not a requirement for programming languages.
4          There are different programming languages that
5          work in different ways.
6                Q    Would they usually have an equivalent to
7          determining whether a condition is true or false?
8           Do most programming languages have that type of
9          ability?
10               A    Some do and some don't.
11               Q    All right.   So just scroll down if you
12         could to Page 2.     There's a statement that says,
13         an if statement consists of two main parts and
14         then there's two bullet points.             Can you just
15         read that sentence and those two bullet points
16         for me, please?
17               A    An if statement consists of two main
18         parts.     The condition, this is an expression that
19         evaluates to either true or false, and a code
20         block.     This is the code that will be executed if
21         the condition is true.
22               Q    Was that statement consistent with your
23         understanding of an if statement in programming?
24                     MS. WEISKOPF:       Objection, vague.
25                     THE WITNESS:      Consistent with the way



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1          some programming languages are implemented, but
2          not all.
3                       MR. LESKO:       So did an if statement
4          consisting of these two main parts exist in 2005?
5                       THE WITNESS:         It existed, again, as
6          described as a building block.                It's not an
7          algorithm.
8                       BY MR. LESKO:
9                Q    So   an    if   statement        consisting       of
10         condition and code block existed as a building
11         block for code in 2005?
12               A    It did.
13               Q    A skilled artisan in 2005, like the
14         skilled artisan defined in your declaration,
15         Plaintiff's Exhibit 1, will be familiar with that
16         if statement in that format?
17               A    They would and they would also know what
18         additional information they needed in order to
19         use it effectively.
20               Q    Okay.     So you can close the document if
21         you'd like.     Have you ever heard of data roaming?
22               A    Depending what context.
23               Q    Yeah.      In    the     context         of   cellular
24         networks and cellular phones.               Have you heard of
25         the concept of roaming?



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1                A     Yes.
2                Q     Are     you     familiar         with       --   can    you
3          describe what that concept is.                    What is roaming?
4                A     It's used in a number of different ways.
5           The term does not appear in the patents.                           It was
6          used commercially by a number of vendors, in a
7          variety of ways, to represent obtaining service
8          that       was    not   from      their      own        supported      cell
9          towers.       And it might include simply using towers
10         of    other      vendors       that     have      a     cooperation
11         agreement without any financial impact.                        It could
12         include using vendor towers -- from other vendors
13         where there is some differential in pricing.                            Or
14         it could sometimes involve using a secondary
15         communication system that might be incompatible,
16         as if you were in another country and there was a
17         secondary form of communication supported.                            It's
18         somewhat time dependent, because in practice the
19         most common usages have changed over time.
20               Q     All right.         So let's talk about usage in
21         2005.        The    usage       of     the     term      roaming       when
22         discussing cell phones and cellular networks.
23         What did that mean in 2005?
24               A     I think in general --
25                          MS. WEISKOPF:         I'm going to object.



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1          This is very far outside the scope of Dr. Wolfe's
2          declaration.
3                     THE WITNESS:       Right, so as I mentioned,
4          it's not a term that's found in the patents or
5          the claims, but in general it meant using --
6          connecting to a tower that was not operated by
7          your primary service provider.             Whether or not
8          that was transparent to you or whether it had
9          some impact on your usage patterns either way.
10                    MR. LESKO:      I'm reading -- I know you
11         haven't seen this.      I'm reading something from T-
12         Mobile's invalidity conventions, it says, quote
13         long before the priority date of the asserted
14         patents,   it    was   well-known        that    users    were
15         allowed to select their home network or could
16         switch roaming off to prevent data upload or
17         download if there are roaming charges, end quote.
18          Do you agree with that statement?
19                    MS. WEISKOPF:        I'm going to object.          He
20         hasn't reviewed the contentions, he hasn't seen
21         the document.    And this is very far outside of
22         his testimony that he's offering.
23                    THE WITNESS:       So again, I haven't seen
24         that statement in context, that could change my
25         opinion.   But in the 90s, I think, you know,



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1          prior to unlimited plans and such, I do recall
2          there being options to turn off roaming, in some
3          systems.
4                      MR. LESKO:    So before the priority date,
5          it was well known that users were allowed to
6          select their home network or can switch roaming
7          off to prevent data upload or download if there
8          are roaming charges.      Would you agree with that?
9                      MS. WEISKOPF:      Same objection as before.
10          It's very far outside the scope, and he hasn't
11         seen what you're reading from or what is cited or
12         anything.
13                     MR. LESKO:    Okay.      You don't need to
14         have speaking objections, Ms. Weiskopf.              Your
15         objection is noted.
16                     MS. WEISKOPF:      Well, I think maybe what
17         we can do is for this entire line of questioning
18         about roaming and you reading from the invalidity
19         contentions, I'll just keep the same objection
20         and I'll just say same objection.               Is that okay
21         with you?
22                     MR. LESKO:    Sure.      Objection, scope?         Is
23         that your objection?
24                     MS. WEISKOPF:      And also that it's out of
25         context.    So, it's sort of mischaracterizing the



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1          statement.
2                         MR. LESKO:      I don't think that's a
3          proper objection.          What's your objection that you
4          want to maintain?
5                         MS. WEISKOPF:        Vague.        That it's vague
6          and that it's outside of the scope of any opinion
7          that he's offering.
8                         MR.    LESKO:        So      objection,         vague,
9          objection,       scope?        That's       what         you   want    to
10         maintain?
11                       MS. WEISKOPF:         For sure.        And then I'll
12         add more if I --
13                       MR. LESKO:       Okay.
14                       THE     WITNESS:         So    if      I    take     that
15         statement out of context, then I do believe it
16         was true.
17                       MR. LESKO:       Okay.      And there's a lot of
18         discussion in between, I just want to -- I know
19         you've kind of answered this, so I just want to
20         say -- so it was well known.                Regardless of the
21         context here, I'm just asking you, was it well
22         known that users were allowed to select their
23         home       network,   or    can     switch      roaming          off   to
24         prevent data upload or download if there are
25         roaming charges before the 2005 priority date?



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1                       THE   WITNESS:         Again,        taking    that
2          statement out of context, it sounds like it's
3          true to me in 2005.
4                       BY MR. LESKO:
5                Q    So if roaming -- if the phones -- if
6          that was a -- let me withdraw my question.                    In
7          order for a user to be able to turn roaming on or
8          off, does the cell phone need to determine if
9          it's roaming?
10               A    No.
11               Q    And here's another way to phrase it.
12         Cell phones in 2005, could they determine and
13         report to a user that they were roaming or not
14         roaming?
15                     MS.    WEISKOPF:         Object       to   form,
16         foundation.
17                     THE WITNESS:       Some could, some couldn't.
18          It would depend on the phone.              It would depend
19         on the provisioning by the provider.                It would
20         depend on the way the network had been set up.
21         There are lots of conditions that you would have
22         to evaluate.
23                     MR. LESKO:      So you were familiar with
24         cellular phone technology in 2005?
25                      THE WITNESS:      Yes.



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1                        MR. LESKO:       Okay.      And would you agree
2          that       cellular   phones      existed        that      had   the
3          capability to determine if they were roaming or
4          not roaming?
5                        MS. WEISKOPF:         Object to form.
6                        THE WITNESS:        There were cell phones
7          that existed as the capability of indicating
8          whether      they     were   roaming        or       not   roaming.
9          Without doing a much deeper investigation, I
10         couldn't tell you whether or not they were making
11         that determination, or whether or not they were
12         communicating back with a carrier who was making
13         that determination elsewhere.
14                      MR. LESKO:      So did programming exist in
15         2005 to make that type of determination, i.e.
16         roaming or not roaming?
17                      THE WITNESS:        It existed somewhere.             But
18         as I said, I can't tell you for sure without
19         doing some more analysis whether it existed on
20         the phone platform.
21                       MR. LESKO:       So if it didn't exist -- so
22         if it existed on the phone platform, then you're
23         saying there might be software on the phone that
24         determines if it's roaming or not.                    Is that what
25         you mean by that?



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1                        MS. WEISKOPF:       Objection, vague.
2                        THE WITNESS:      Again, I can't confirm
3          that       that   was      ever      implemented.             But
4          hypothetically, it's possible that somebody could
5          do that.      They would need an algorithm to be
6          defined and a set of criteria.
7                        MR. LESKO:     And so in, what's the other
8          way?       Would there be an algorithm on a, would
9          there be a signal from the cell tower that tells
10         you it's a roaming or not? Is that a possibility?
11                       MS. WEISKOPF:       Objection, speculation.
12                       THE WITNESS:      I don't know if there
13         would be a way to do that directly.                Again, it
14         might be possible.        You would need to define the
15         criteria.      It's also quite possible that you
16         simply get a cell phone tower ID and that you
17         send that back to your carrier, and your carrier
18         determines whether it's their tower or not their
19         tower.
20                       MR. LESKO:     So the tower ID, where does
21         that come from that you're referring to in your
22         last answer?
23                       THE WITNESS:      Again, if it exists, it
24         may exist in some systems.            It may not exist in
25         other systems.      But it wouldn't be communicated



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1          from the tower to the phone.
2                       BY MR. LESKO:
3                Q    Well, just set aside roaming.                And you
4          said you know about cellular phone technology and
5          cellular network technology in 2005.                Is that
6          right?
7                A    Yes.
8                Q    Okay.    Are you aware -- was there
9          technology for cellular phone to receive a tower
10         ID from a network to which it was connected in
11         2005?
12               A    I can't tell you for certain.                I think
13         it probably existed in at least some systems, but
14         maybe not in all systems.
15               Q    When you say probably existed, what do
16         you mean by that? Are you aware of it existing at
17         all, or can you confirm there's any situation
18         where it existed that a phone could receive a
19         tower ID from a cellular network?
20                     MS. WEISKOPF:         Object to form.
21                     THE WITNESS:        Not as a factual matter.
22         Without going back and reviewing the protocols
23         again, I would expect it to be the case in some
24         protocols and not in others.              But I don't know
25         factually,    one    way     or    the     other    for     any



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1          particular protocol.
2                       MR. LESKO:       So you reviewed Dr. Hughes's
3          declaration        Exhibit       4     in      preparing       your
4          declaration in this matter, is that right?
5                       THE WITNESS:        I did.
6                       BY MR. LESKO:
7                Q    Okay.   And do you recall he mentioned
8          data roaming in his declaration?
9                A    I do remember that he mentioned it, but
10         I'd have to go look to see where and in what
11         context.
12               Q    Okay.   But you didn't have any reason to
13         consider his opinion on data roaming in putting
14         together your declaration?
15               A    I considered all of his opinions with
16         respect to the controller elements.                 But once
17         again, data roaming is not in the specification.
18          It's not in the claims.             I was asked to look at
19         specific issues and that is whether or not the
20         word controller itself had sufficient structure
21         to implement the claims without looking to the
22         specification.      I concluded it did not.              And then
23         whether    or   not     the     specification        provided
24         sufficient support for the claimed functions.
25         None of that information had anything to do with



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1          roaming, because roaming is not mentioned in the
2          specification and it's not mentioned in the
3          claims.
4                Q    You talk about the structure of the
5          controller, whether it's insufficient structure.
6           What do you mean by that?
7                A    So the question is would a person of
8          ordinary skill understand -- one of the questions
9          is would a person of ordinary skill understand in
10         the    context   of     the     claim,      from      the     word
11         controller    alone,       what     structure         is    being
12         claimed?    And the answer is no, the way that
13         that's used in that particular claim, there is no
14         specific structure known to a person of ordinary
15         skill for a controller that, on its own, absent a
16         specific algorithm, is capable of performing the
17         claimed functions.
18               Q    So when you say structure, are you
19         referring to hardware?           Hardware plus programming
20         or    programming?         What     are     you      referring       to
21         specifically?      What would provide structure?
22         First let me ask you, could it be just the
23         hardware    item   itself?            Could         that   provide
24         structure?
25                     MS. WEISKOPF:          Objection, form.



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1                         THE WITNESS:      In the abstract, yes.            But
2          you've really pointed out one of the problems
3          here is that in the context of this claim, the
4          word controller alone doesn't tell you whether or
5          not     it's    claiming     hardware       or      software    or
6          hardware and software together.                So you need to
7          look to the specification to understand that, and
8          you need to look at the claimed functions in
9          order to understand what's actually being claimed
10         in terms of structure.
11                        MR. LESKO:     Could structure for the
12         claim also be provided in the form of a program
13         for the controller?          Was that another structure
14         based on your understanding of what we've been
15         instructed on the law?
16                        THE WITNESS:      Yes.      If a program had
17         been disclosed and if that program had been
18         linked to the claimed functions and the term
19         controller in a way that a person of ordinary
20         skill would understand those relationships, then
21         that would be sufficient structure.                  If you had a
22         program that was disclosed that performed the
23         claim      function    and    was     linked        to   the   claim
24         function, I think that that could be the right
25         structure.       I did not see that here.



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1                       BY MR. LESKO:
2                Q    One of the claim itself, you sort of
3          described     in    words,      the    program       for     the
4          controller.        Is that something you considered
5          whether the claim itself described in words a
6          program or the controller?
7                A    I did consider that.            I don't believe
8          that the claim language itself describes the
9          structure of the controller or an algorithm for a
10         processor    that     would      be    the     controller        in
11         sufficient    detail       to    perform       the   claimed
12         functions.    It simply recites the functions.                     And
13         also, I don't think that the functions that are
14         claimed are completely supported in the body of
15         the specification.
16               Q    So the program in the claim, though,
17         that you're looking for, it wouldn't have to be,
18         per se, actual software code.               Would you agree
19         with that?
20               A    No, it would need to be the structure of
21         a program that was more than simply the function
22         of the program.
23               Q    Okay.    So like I -- like you said, if
24         there was an algorithm in the claim, you know,
25         even if it wasn't an if else statement, let's



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1          say, or formal programming language, there could
2          be a structural program in the claim.                     And you
3          were looking for that when you were reviewing
4          these claims.         Is that correct?
5                A      I did look for that.           I did not see a
6          structural      program.          I    only     saw   functions
7          described in the claim.             And as I mentioned, I
8          did not see support for all of those functions in
9          the body of the specification.
10               Q     Well, let's turn to Plaintiff's Exhibit
11         3, Dr. Wolfe.
12               A     Okay.
13               Q     Thanks.    Let's go ahead and scroll down
14         if you could, to PDF Page 32 of Plaintiff's
15         Exhibit 3, which is -- I don't think you would
16         agree those are the claims of the '472 patent.
17         Do you agree with me?
18               A     Yes.
19               Q     Okay.   So on Line 24 through 26 in
20         Column 17 there's language that says, during any
21         period direct -- detected by the controller in
22         which all three of the following conditions are
23         met.       Can you see that?
24               A     I do.
25               Q     What does that mean?            During any period



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1          detected by the controller in which all three of
2          the following conditions are met?
3                A      Needs to be taken into context.            It
4          talks        about   a     function        of      automatically
5          connecting to a picture hosting service that is
6          internet based, and enabling an upload to the
7          picture hosting service over the internet and via
8          the cellular interface of a group of image sensor
9          captured pictures stored in the local memory.
10         And then it says when that function should be
11         performed during any period detected by the
12         controller, in which all three of the following
13         conditions are met, and then in functional terms,
14         it describes three conditions.
15               Q     So, reading that language, if conditions
16         one, two, and three in the claim are met, Element
17         f(ii) of claim one of the '472 patent is carried
18         out.       Do you agree?
19                       MS. WEISKOPF:       Object to form, vague.
20                       THE WITNESS:      I don't see the word if,
21         right? If I saw the word if, to me if it were
22         being written in the form of an algorithm, it
23         would mean if and only if.            Where in a claim,
24         it's my understanding that that's not something
25         that I can assume.         So I have not put that



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1          limitation on that.
2                       MR. LESKO:    So how would you interpret
3          the language during any period?
4                       THE WITNESS:     It's a comprising claim.
5          So I would interpret it that -- again I have to
6          interpret it probably in light of the -- of the
7          file history where the applicant kept explaining
8          that it doesn't just mean during any period, but
9          what it says is, I think that the particular
10         automatic    connection      and    uploading          that's
11         described in this limitation has to happen during
12         any period of time determined or detected by the
13         controller, which again, we don't really have
14         structure for, in which each of those three
15         conditions are met.
16                     And as I mentioned before, at least one
17         of those conditions, maybe two or three, really
18         are not supported in the specification.                 So it
19         means that you have to determine using data from
20         the cellular interface that you are -- that the
21         system is within a period without potentially
22         increased cellular network access fees.                 And you
23         also have to determine from -- that you are
24         connected    to   the   internet        via      the   cellular
25         interface.    And you also have to have determined



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1          that at least one picture captured by the phone
2          sensor, and not from somewhere else, has been
3          designated through the touch sensitive display
4          and not some other way, as being part of the
5          group of pictures to be uploaded to the picture
6          hosting service.         So at a minimum, all those
7          conditions      have     to    be    true.           But   it's   a
8          comprising claim, so I don't see anything that
9          says that you can't also upload when one of those
10         conditions is false.
11                       BY MR. LESKO:
12               Q    So you're talking about outside the
13         scope of the claim, there's a possibility the
14         same system performs other uploads?                   Is that what
15         you're suggesting?
16               A    No, I'm saying within the scope of the
17         claim, there's a possibility that it performs
18         other uploads based on my understanding of a
19         comprising claim.         As long as you meet all the
20         limitations of the claim, you can do other things
21         as well.     And I don't see any place where it says
22         only, or if it says only if or anything like
23         that.      It simply says that under those three
24         conditions,      you        can      automatically           upload
25         pictures.



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1                Q       Are you saying you can or you must under
2          those         three   conditions      according        to   Element
3          f(ii)?
4                A       That you are configured to.
5                Q       All right.     So -- just looking at Claim
6          5, do you see Claim 5?
7                A       Yes.
8                    Q    So it says, during any period detected
9          by the controller in which all the following
10         conditions are met.
11               A       Yes.
12               Q       So, if all four of these conditions are
13         met, what happens according to the claim?
14               A       If all four of the conditions are met,
15         according to the claim, you will automatically
16         connect to a picture hosting service that is
17         internet based and enable and upload to the
18         picture hosting service over the internet and via
19         the cellular interface of a group of image sensor
20         captured pictures stored in the local memory.
21         But again, I don't see that as being -- well,
22         that is a limitation of the claim.                    I don't see
23         anything that says that that's the only time that
24         you can upload pictures.
25               Q       Right, I understand what you're saying



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1          there.     I understand your argument.                But what I'm
2          saying, though, is if those four things happen,
3          then element (ii) is carried out.                  Would you
4          agree with that?
5                A    That's    true.        I    think       that's    a
6          functional    description         of       a    system,    not    an
7          algorithm.
8                Q    If condition 1, condition 2, condition
9          3, and condition 4 are all true, then it will
10         automatically       connect     to     a       picture    hosting
11         service that is internet based and enable and
12         upload to a picture hosting service over the
13         internet.    And via the cellular interface, give a
14         group of image-sensor captured pictures stored in
15         a local memory.      Do you agree with that?
16                     MS. WEISKOPF:         Object to form.
17                     THE WITNESS:        I don't think so.            It
18         doesn't say if, and if you're using if as a code
19         construct, then I would disagree.                  What it says
20         is that during a period where those conditions
21         are met, it will perform the upload that was
22         previously described.
23                     MR.     LESKO:        What's        the   difference
24         between during any period and if, in your view?
25                     THE WITNESS:        Well, again, if you're



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1          using if not in plain English language, which
2          would depend on context, but if you're using if
3          in the way we would use it in an algorithmic
4          construct, then it means if and only if, which is
5          not what I see described here.
6                       BY MR. LESKO:
7                Q    And you're basing that conclusion on the
8          use of the word comprising?
9                A    The use of the word comprising and the
10         structure of the claim as a whole.                It would have
11         been very easy to say only during, if that's what
12         the patentee intended.
13               Q    So in the structure of an if else
14         statement, is it always only if?
15               A    In the programming languages that I'm
16         familiar with at the moment, yes.                Again, you can
17         build your own programming language, do anything
18         else.      I'm   sure   there      are     thousands      of
19         programming languages out there.                 But in the way
20         that I would describe an algorithm to a person of
21         ordinary skill, I use if to describe things that
22         only happen under a certain condition, else to
23         describe things that happen when that condition's
24         false.     And if you have things that can happen
25         that happen whether or not the condition is true,



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1          then       you    do   them    outside        of       the   if    else
2          statement.         But that's why we write pseudocode
3          and build flowcharts is because they're precise
4          as    opposed       to    language,       which        can   be      more
5          ambiguous than in written English paragraphs.
6                Q     How would that look, those conditions
7          you say that fall outside the if or outside the
8          else, how would they look in the code?
9                           MS. WEISKOPF:        Object to form, vague.
10                          MR. LESKO:      So that would be a different
11         structure?        What would that look like?
12                          THE WITNESS:       It would simply perhaps be
13         -- again, it depends.              You have to actually have
14         the algorithm to know what it would look like.
15         But, hypothetically, it could happen before an if
16         statement or instead of an if statement, or after
17         an if then else statement had completed.
18                          BY MR. LESKO:
19               Q     I'm going to go to the '472 patent,
20         Column 1, Lines 55 to 60.                Can you scroll to
21         those pages, Dr. Wolfe?               Let me know when you're
22         there.
23               A     I'm at Column 1, Line 55.
24               Q     All right.        So this says U.S. Patent
25         numbers 4,951,079, 6,021,278 and 6,101,338 are



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1          herein incorporated by reference.                     You see that?
2                    A    Yes.
3                    Q    Do     you    know       what          that   means,
4          incorporated by reference?
5                A       I do.    My understanding is depends a
6          little bit on the language that, that is used.
7                Q       So    during   your     review          of   the    file
8          history, though, did you see the statement in the
9          '472 patent?
10               A       I did.
11               Q       Did you say yes?
12               A       Yes.
13               Q       Okay.    And during your review of the
14         '761 patent, did you see an equivalent statement
15         in that patent?
16               A       My recollection is I did, but let me
17         check.        Yes, I did.
18               Q       Okay.    So do you understand that if a
19         patent incorporates another document by reference
20         and incorporated materials treated as if it were
21         explicitly included in the patent itself?
22                        MS. WEISKOPF:         Object to form.
23                        THE WITNESS:        I do, but it's also my
24         understanding that when it's incorporated in a
25         form like this, where it's incorporated with



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1          respect to a particular issue, that it's being
2          incorporated with respect to its teachings about
3          that issue.
4                        MR.    LESKO:        Can     you       pull    up     the
5          declaration of Dr. Hughes, I think it's Exhibit
6          4, please?
7                        THE WITNESS:       Okay.
8                        BY MR. LESKO:
9                Q     Okay.    This is Paragraph 30 of our Dr.
10         Hughes declaration.         Do you share that same
11         understanding of incorporation by reference?
12               A    That's     my      general         understanding.
13         Although, as I said, it is my understanding that
14         under      current   law    that      if    a       patent     is
15         incorporated by reference with respect to a
16         specific feature of the claims, then it only
17         needs to be reviewed -- or it only needs to be
18         incorporated with respect to that feature.                        And
19         that's my interpretation of the language in these
20         two patents.
21               Q    If you look at paragraph -- could you
22         scroll down to paragraph 41 of Dr. Hughes's
23         declaration?
24               A     Okay.
25               Q    This one refers to the '278 and '338



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1          patents to Bernardi.
2                    A       Okay.
3                    Q       Did you -- in forming your opinions, did
4          you read either of those patents or look at them?
5                A       I    didn't       because     there's         been     no
6          suggestion that the sensory RSC-164 chip has been
7          linked to the claimed functions, or that there
8          has been an algorithm presented in those patents
9          for the claimed functions.
10               Q       So    just     looking       at    --      just    read
11         paragraphs 41 and 42 of the declaration here to
12         yourself, that's exhibit -- Plaintiff's Exhibit
13         4.
14               A       Yes.
15               Q       Do    you    agree      or    disagree        with      the
16         statements in paragraphs 41 and 42 here?
17               A       I    agree     with     those      statements         as
18         presented          for    the    purpose        of       doing   voice
19         recognition in the '278 and '338 patents.                           The
20         RCS 164 microcontroller is disclosed.
21               Q       In    paragraph        44,    it     says,      it's     my
22         opinion,          it   starts      there,       it       says,   it's     my
23         opinion, though, that a POSITA would have been
24         the aware of the materials such as those that the
25         inventor specifically incorporated by reference



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1          or as patent specification, including the RSC-164
2          family of controllers.           Reading this Paragraph 44
3          of    the    Hughes    declaration,         do      you   agree       or
4          disagree with this paragraph?
5                A     As I understand it, I agree with it
6          because what it does not say, well, no, no.                      It's
7          ambiguous.      If they're talking about a claimed
8          controller in Exhibits 2 and 3, then I disagree.
9           A person of ordinary skill would have known of
10         the RSC-164 family of controllers.                  They would
11         not know of its suitability for the functions
12         claimed in Exhibits 2 and 3, and they would not
13         have known the structure of the algorithms that
14         are attempting to be claimed in Exhibits 2 and 3.
15               Q     Looking at Paragraph 45 of Dr. Hughes's
16         declaration.       It refers to three dictionary
17         definitions for controller.
18               A     Yes.
19               Q     Do you believe that those dictionary
20         definitions        reflect    the     understanding         of    a
21         skilled artisan as of 2005 for what a controller
22         means?
23               A     Well, one of those is from 1996.                It's a
24         little early.       But the question is a controller
25         in what context?        I think that those reflect what



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1          a controller would be in a certain context.                  I
2          don't think they reflect what the controller is
3          being claimed.     And also, if you read these
4          definitions,     none   of    them      recite    specific
5          structure.       They   all     talk     about    general
6          categories of structure, and they talk about
7          either things that have particular functions,
8          which means they're functional descriptions, or
9          they talk about things where the functionality
10         depends on their programming.
11                     And my understanding is that when you
12         claim a function of a controller or a processor
13         in a claim, if that function is specialized, then
14         you need to disclose the algorithm for that
15         specialized    function.         And     none    of   these
16         definitions change that or disclose -- none of
17         these disclose an algorithm.            None of these
18         disclose a specific structure rather than just
19         using other general words to describe it.                I
20         mean, look at -- one of these is a circuit
21         mechanism device or system which monitors one or
22         more variables.    That's not specific structure.
23               Q    So you don't think a circuit is a
24         structural term?
25               A    It's not a description of a specific



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1          structure.     If you sent me off to go get you a
2          circuit, it's very unlikely that I would bring
3          you back what you wanted because you haven't told
4          me with enough specificity, what you expect.
5                Q    So what if it is -- so it's usually
6          contained on a single chip, circuit board or
7          device.     Do you know what I mean when I say it's
8          contained on a chip? Is the chip a structure?
9                       MS. WEISKOPF:       Object to form.
10                     THE WITNESS:       Chip is a structure.            But
11         again, that's not saying what it is.                It's saying
12         what form it takes.        It's like saying it comes in
13         a box.     It doesn't tell you the structure of the
14         underlying thing.       And again, if you look at the
15         total description there, it uses the word device.
16          Device is a nonce term.
17                      BY MR. LESKO:
18                Q   Let's turn to Paragraph 46.              It refers
19         to Judge Albright's prior opinions.                So does 47,
20         frankly.      Did    you    read     any     of    these     prior
21         opinions that are listed in Paragraphs 46 and 47?
22               A    I did not.
23               Q    So do you have any opinion on whether
24         Dr.    Hughes's   statements        in    46      and   47   are
25         accurate?



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1                 A     I don't know if they are or not.                 I
2          haven't seen Judge Albright's reasoning.                      I
3          haven't seen whether or not he was provided with
4          all the facts when he made his judgment.
5                 Q     Would you think there'd be any reason to
6          investigate those opinions in Paragraphs 46 and
7          47?
8                 A     No, the fact pattern for each one of
9          them is different.         They all are in different
10         claims,          different          patents,             different
11         specifications.       And I wasn't asked to make a
12         legal judgment.       I was asked to determine whether
13         or    not    a   person    of    ordinary           skill   would
14         understand sufficient structure for the term
15         controller as it's used in a specific claims in
16         this       matter,   and   whether       or    not     there      was
17         sufficient structural or functional support in
18         the specification.
19                       MR. LESKO:      So I think that's all my
20         questions for today, Dr. Wolfe.                I appreciate
21         your time.       So thanks for taking the time to
22         speak with me today.            Thank you.
23                       MS. WEISKOPF:        I'm going to have a
24         little bit of redirect.            Can I have a one or two
25         minute break, five minute break before we do it?



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1                        MR. LESKO:     Thirty seconds I'll give
2          you.       I'm just kidding.      Five minutes is fine.
3          Is that how long you want?
4                        MS. WEISKOPF:       Yeah, maybe just --
5                        MR. LESKO:     Five or ten.          Either fine
6          for me.
7                        MS. WEISKOPF:       Yeah.      Let me just have
8          five, please.
9                        MR. LESKO:     Okay.
10                       MS. WEISKOPF:       Thank you.
11                       MR. LESKO:     So we'll see at 4:20 p.m.
12         my time.
13                       MS. WEISKOPF:       Sounds good.          Thank you,
14         Justin.
15                       MR. LESKO:     Sure.
16                       COURT REPORTER:        All right.         So we're
17         off the record at 2:13 p.m.
18                       (Whereupon, the above-entitled matter
19         went off the record at 2:13 p.m. and resumed at
20         2:20 p.m.)
21                       COURT REPORTER:        We're back on the
22         record at 2:20 p.m.
23                             CROSS EXAMINATION
24                       MS. WEISKOPF:       Okay.      Dr. Wolfe, do you
25         recall discussing the functions in the asserted



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1          claims with Mr. Lesko?
2                             THE WITNESS:      Yes.
3                             BY MS. WEISKOPF:
4                    Q    Okay.      Can we please turn to Plaintiff's
5          Exhibit 2, which is the '761 patent?
6                A       Yes.
7                Q       Okay can you please look at the portion
8          of the claim labeled one, two and three?
9                A       I have that.
10               Q       Do you have an opinion about whether
11         there are any functions of the controller in this
12         portion of the claim?
13               A       The     controller          is      configured       to
14         automatically connect under certain conditions.
15         So automatically connecting under the recited
16         conditions is a function.
17               Q       Do you have an opinion whether the
18         controller functions to determine that the upload
19         is allowed based on the selected upload option
20         and uses data from the cellular interface?
21               A       That is a controller function, yes.
22               Q       Do    you    have     an    opinion       on   whether
23         there's structure in the claim sufficient to
24         perform that function?
25               A       I'm not even sure I saw a description of



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1          the function in the claims -- whether there's
2          structure in the claims? There's certainly not
3          structure in the claims.               The only structure in
4          the       claims    is    controller,         and      not    every
5          controller can do that.               An ordinary controller
6          can't      do    that.        It    would      require        either
7          specialized hardware or specialized software,
8          neither of which are disclosed in the claim.
9                Q     And do you have an opinion whether
10         there's an algorithm in the specification to
11         support that function?
12               A     There is not one.
13               Q     Okay.    Let's turn to Plaintiff's Exhibit
14         3, which is the '472 patent.
15               A     Okay.
16               Q     Do you recall discussing what's labeled
17         one, two and three and claim 1 with Mr. Lesko?
18               A     Yes.
19               Q     Alright, do you see any functions of the
20         controller in this portion of the claim 1 of the
21         '472 patent?
22                         MR. LESKO:       Objection, scope.
23                         THE WITNESS:        I'm sorry.         Yes.
24                         MS. WEISKOPF:         Do you have an opinion
25         whether the controller is configured to detect



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1          that the upload is allowed because the system is
2          within one of the periods without potentially
3          increased     cellular     network         access     fees,     as
4          determined        using    data          from      the    cellular
5          interface?
6                       THE WITNESS:       Yes, the controller must
7          detect that condition.
8                       BY MS. WEISKOPF:
9                Q    Is that a function of the controller?
10               A    It is a function of the controller.
11               Q    Do you have an opinion whether there's
12         structure in the claim sufficient to perform that
13         function?
14               A    There is not sufficient structure in the
15         claims to perform that function.
16               Q    And do you have an opinion whether there
17         is structure in the specification sufficient to
18         perform that function?
19                     MR. LESKO:       Objection, outside scope.
20                     THE WITNESS:        I don't believe there is.
21          There is a description of a cellular interface
22         that's     been   added    that      I     don't     think    was
23         supported in the original specification, but
24         that's not sufficient to describe this function.
25          This function is more complicated than just



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1          requiring the existence of a cellular interface.
2           It would require an algorithm or specialized
3          hardware structure.
4                          MS. WEISKOPF:        Okay, let's turn to claim
5          5 and look at the portion of the claim in F2.                          Do
6          you have any opinions whether there's functions
7          in this portion of the claim?
8                          THE WITNESS:     Yes.      The functions to
9          automatically connect under the four specified
10         conditions, and also that the controller must
11         detect those conditions are present.                    Those are
12         functions.
13                      BY MS. WEISKOPF:
14               Q    Okay.    Looking at the at the portion of
15         the claim with a label two, the numeral two, do
16         you have an opinion whether the controller is
17         configured to confirm that the camera system is
18         within a period without potentially increased
19         cellular network access fees, as determined using
20         data from the cellular interface?
21               A    The claim requires that the controller
22         be configured to perform that function.
23               Q    Do you have an opinion whether that's a
24         function?
25               A    As    described      in    claim         5   it   is    a



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1          function.
2                Q    Okay.   Do you have an opinion whether
3          there is structure in the claim sufficient to
4          perform that function?
5                A    There is not sufficient structure in the
6          claim.
7                Q    And do you have an opinion whether
8          there's      sufficient          structure         and          the
9          specification to perform that function?
10                     MR. LESKO:      Objection, outside scope.
11                     THE WITNESS:       There is not sufficient
12         structure in the specification to perform that
13         function.
14                     MS. WEISKOPF:        Those are my questions.
15         I can pass the witness, but I would like to
16         review and sign.
17                     MR. LESKO:      I don't have any further
18         questions.    But one thing I wanted to say, I
19         guess on the record though is given the timing of
20         this, we have a briefing on Thursday.                  I'm going
21         to have to write our brief using the rough
22         transcript, I think.        So I guess I would ask if
23         there's -- normally you would review a final
24         transcript and sign, as you're suggesting.                  I
25         guess I would ask if there's certain corrections



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1          that stand out or that are important or that we
2          need to debate before our brief is submitted, if
3          you could try to raise those with us so that
4          we're just making this as efficient as possible.
5                        Does that make sense?             So in other
6          words,      if   you    see    something        in      the     rough
7          transcript when you get it that we need to
8          discuss and consider correcting as you would,
9          let's try to talk about before the brief is
10         submitted or nearly about to be submitted.                        Can
11         we do that?
12                      MS. WEISKOPF:          Yeah.      We'll make every
13         effort to accommodate that request.                    I think I
14         need to talk to the court reporter about when we
15         can get the rough and everything because you're
16         right, the timing is tight.               So I think          we're
17         also having a similar issue, but I will try to
18         accommodate that.
19                      MR. LESKO:        Okay.      And the rough, just
20         so you know, we can go off the record if you
21         want.      I don't know if there's anything else to
22         address on the record.            I was just going to say,
23         I think they told me an estimate on the rough, I
24         could look it up if you'd like.
25                      COURT REPORTER:           Yeah.         Let's go ahead



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1          and finish up and go off the record.
2                            MR. LESKO:    Oh, it's supposed to be next
3          day rough.         So, yeah.      Go ahead.           Sorry.
4                            COURT REPORTER:       Okay.         And so, Ms.
5          Weiskopf, you are planning to purchase a rough
6          and a final?
7                            MS. WEISKOPF:      I believe we're going to
8          need to do that given the timing.
9                            COURT REPORTER:       All right.         And then I
10         just       have    a   short    little       read      off.        This
11         concludes the deposition of Dr. Andrew Wolfe,
12         taken in the matter of Cutting Edge Vision vs.
13         T-Mobile.         Today's date is Friday, March 14th,
14         2025.      And the time is now about 2:30 p.m.
15         Pacific.      We are off the record.
16                            (Whereupon, the above-entitled matter
17         went off the record at 2:30 p.m., signature
18         having NOT been waived.)
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           In the matter of: Cutting Edge Vision v T-Mobile


           Before: US District Court


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      ERRATA                                                                                        ERRATA

DEPOSITION/TESTIMONY OF:
                                Dr. Andrew Wolfe
IN THE MATTER OF:
                      Cutting Edge Vision, LLC v. T-Mobile US, Inc., and T-Mobile USA, Inc.
DOCKET NO.:                                                 TAKEN ON:
                  6:24-cv-270                                             Friday, March 14, 2025

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PAGE #    LINE #                           CHANGE                                            REASON

  7           9      from "don't" to "won't"                                  typographical/transcription error

 13           4     from "admit" to "omit"                                    typographical/transcription error

 76        19       from "implying" to "applying"                             typographical/transcription error

133         25      from "wouldn't be" to "would be"                          typographical/transcription error

140           3      from "into context" to "in context"                     typographical/transcription error

146           5     from "than in written" to "when written in"               typographical/transcription error




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